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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Eastern District of Missouri        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Michael
                                        __________________________________________________            Meredith
                                                                                                     __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Christopher
                                        __________________________________________________            Leigh Miller
                                                                                                     __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Dean
                                        __________________________________________________            Dean
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           7    4    2    5                                        5    8    0    8
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


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                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                 I have not used any business names or EINs.                
                                                                                              ✔ I have not used any business names or EINs.

     Identification Numbers
     (EIN) you have used in      The Plastic Merchant
                                 _________________________________________________            _________________________________________________
     the last 8 years            Business name                                                Business name

     Include trade names and
                                 _________________________________________________            _________________________________________________
     doing business as names     Business name                                                Business name



                                 _________________________________________________            _________________________________________________
                                 EIN                                                          EIN

                                 _________________________________________________            _________________________________________________

                                 EIN                                                          EIN



5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                 3464 Charlestowne Crossing Dr                                _________________________________________________
                                 _________________________________________________
                                 Number     Street                                            Number     Street


                                 _________________________________________________            _________________________________________________


                                 Saint Charles                           MO
                                 _________________________________________________
                                                                                   63301      _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code

                                 St. Charles County                                           _________________________________________________
                                 _________________________________________________
                                 County                                                       County


                                 If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                 above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                 any notices to you at this mailing address.                  any notices to this mailing address.


                                 _________________________________________________            _________________________________________________
                                 Number     Street                                            Number     Street

                                 _________________________________________________            _________________________________________________
                                 P.O. Box                                                     P.O. Box

                                 _________________________________________________            _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                  
                                 ✔ Over the last 180 days before filing this petition, I      
                                                                                              ✔ Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other      have lived in this district longer than in any other
                                       district.                                                 district.

                                  I have another reason. Explain.                             I have another reason. Explain.
                                       (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




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 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee       
                                      ✔
                                        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for       
                                ✔ No
       bankruptcy within the
       last 8 years?             Yes.   District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                No.    Go to line 12.
       residence?                     
                                      ✔ Yes.   Has your landlord obtained an eviction judgment against you?


                                                
                                                ✔   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor          No. Go to Part 4.
      of any full- or part-time
      business?                         
                                        ✔ Yes. Name and location of business
      A sole proprietorship is a                 The Plastic Merchant
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as              3464 Charlestowne Crossing Dr
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it               Saint Charles                                          MO           63301
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 
                                                 ✔   None of the above


13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                        
                                        ✔ No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see               No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any            
                                        ✔ No
      property that poses or is
      alleged to pose a threat           Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit              
                                                                                                     ✔ I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
      cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                           
                                           ✔   No. Go to line 16b.
                                              Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                           
                                           ✔   Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________

17.   Are you filing under
      Chapter 7?                       No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do            1-49                                    1,000-5,000                             25,001-50,000
      you estimate that you            50-99                                   5,001-10,000                            50,001-100,000
      owe?                             100-199                                 10,001-25,000                           More than 100,000
                                      
                                      ✔ 200-999
19.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      be worth?                       
                                      ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
20.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      to be?                           $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                      
                                      ✔ $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                       /s/ Michael Christopher Dean
                                         ______________________________________________              _____________________________
                                                                                                       /s/ Meredith Leigh Miller Dean
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         10/03/2019                                                   10/03/2019
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




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                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                _________________________________
                                  /s/ Bryon Hale                                                    Date           10/03/2019
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Bryon Hale
                                   _________________________________________________________________________________________________
                                   Printed name

                                     Barklage, Brett & Hamill, PC
                                   _________________________________________________________________________________________________
                                   Firm name

                                    211 N. Third Street
                                   _________________________________________________________________________________________________
                                   Number Street

                                   _________________________________________________________________________________________________

                                    St. Charles                                                     MO            63301
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone 636-949-2120
                                                 ______________________________         Email address
                                                                                                        bhale@barklage-brett.com
                                                                                                        _________________________________________



                                    64883                                                           MO
                                   ______________________________________________________ ____________
                                   Bar number                                              State




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 Fill in this information to identify your case:

 Debtor 1
                     Michael Christopher Dean
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Meredith Leigh Miller Dean
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Missouri District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 117,969.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 117,969.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 2,149.38
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 834,404.32
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 836,553.70
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,253.17
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,213.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name           Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                      2,149.38
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                   2,149.38
                                                                                                            $_____________________




    Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
Fill in thisCase   19-46230
            information              Doc
                        to identify your    1 andFiled
                                         case             10/03/19
                                                  this filing:                    Entered 10/03/19 17:32:42                 Main Document
                                                                             Pg 10 of 221
Debtor 1
                   Michael Christopher Dean
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2             Meredith Leigh Miller Dean
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Eastern District of Missouri District of __________
                                                                                    (State)
Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ✔    No. Go to Part 2.
        Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                         $________________ $_________________
                                                                     Investment property
                                                                                                                   Describe the nature of your ownership
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




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1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Volkswagen
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Tiguan
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2012                           Debtor 2 only
            Year:                 ____________
                                                                 
                                                                 ✔ Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  121000                                                                                  entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           5,000.00                  5,000.00
   Condition: Good                                                Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

    3.2.           Toyota
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Venza
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2011                           Debtor 2 only
            Year:                 ____________                                                                            Current value of the      Current value of the
                                                                 
                                                                 ✔ Debtor 1 and Debtor 2 only
                                                                                                                          entire property?          portion you own?
                                  112000
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           9,000.00
                                                                                                                          $________________          9,000.00
                                                                                                                                                    $________________
   Condition: Good                                                Check if this is community property (see
                                                                     instructions)




                                                                                                                                                                   10
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                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      14,000.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Furniture and appliances
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     62" Television, sound bar, 2 Apple laptops; 2 iphones
   
   ✔ Yes. Describe. ........                                                                                                                                                                          2,000.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No                    20,000+ Magic the Gathering Cards
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
    No                   Bicycle
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Miscellaneous clothing
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       2 Steinhart watches, Wedding Bands
   
   ✔    Yes. Describe. .........                                                                                                                                                                      3,500.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        7,500.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 UFB Direct - Meredith Dean                                                           10.00
                                                 ___________________________________________________________________________________ $__________________
                                                 UFB Direct - Michael Dean                                                            10.00
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                  First Community Credit Union                                                                                                                                                       493.40
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                  Central Bank                                                                                                                                                                       37.65
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                  Alliant Credit Union                                                                                                                                                               5.00
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
   
   ✔   Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   Fidelity - Cash Management Account
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                     406.49
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   Fidelity - Taxable Investment Account
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                     0.15
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   Stockpile.com
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                                    $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           Fidelity
                                   _________________________________________________________________________________________________
                                                                                                                                           16,695.00
                                                                                                                                       $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              Vanguard IRA
                                   _________________________________________________________________________________________________   0.00
                                                                                                                                     $__________________
                                                                                                                                     $__________________
 Retirement account:               PEERS Retirement Account
                                   _________________________________________________________________________________________________       3,322.02
                                                                                                                                       $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               State Farm 401k
                                   _________________________________________________________________________________________________  28,749.77
                                                                                                                                     $__________________
                                                                                                                                     $__________________
 Additional account:               Vanguard IRA
                                   _________________________________________________________________________________________________  46,739.52
                                                                                                                                     $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   ✔   Yes. Name the insurance company             Company name:                                                                                 Beneficiary:                                        Surrender or refund value:
            of each policy and list its value. ...
      Dearborn  National Life Term Life - Daughter 2 - through Orchard Farm School District
      ____________________________________________________________________________
                                                                                                                                                 Meredith Dean
                                                                                                                                               ____________________________                            0.00
                                                                                                                                                                                                     $__________________
      Dearborn National Life Term Life - Daughter 1 - through Orchard Farm School District
      ____________________________________________________________________________                                                              Meredith Dean
                                                                                                                                               ____________________________                            0.00
                                                                                                                                                                                                     $__________________
      Dearborn                                                                               Meredith Dean
               National Life Term Life - Michael Dean - through Orchard Farm School District ___________________________
      ____________________________________________________________________________                                                                                                                     0.00
                                                                                                                                                                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       96,469.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
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48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    14,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               7,500.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           96,469.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             117,969.00
                                                                                                                     $________________ Copy personal property total                                              117,969.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       117,969.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
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                                                                                                                                                                                                                       page ___
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  Debtor 1     Michael Christopher Dean & Meredith Leigh Miller Dean
                                                                  _                 Case number (if known)
               First Name   Middle Name           Last Name



                               Continuation Sheet for Official Form 106A/B
31) Interests in insurance policies

Dearborn National Life                      Michael Dean                        0.00
Term Life - Meredith
Dean - Through Orchard
Farm School District

Brighthouse Financial -                     Meredith Dean                       0.00
Term Life - Michael Dean

Brighthouse Financial -                     Michael Dean                        0.00
Term Life - Meredith Dean




   Official Form 106A/B                                         Schedule A/B: Property
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 Fill in this information to identify your case:

                     Michael Christopher Dean
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Missouri District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim
        Debtor 1 Exemptions
                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 2012 Volkswagen Tiguan                                                                                            Mo. Rev. Stat. § 513.430 1.(5)
 Brief
 description:
                                                                  5,000.00
                                                                 $________________              2,500.00
                                                                                             ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        3.1
                 2011 Toyota Venza                                                                                                 Mo. Rev. Stat. § 513.440
 Brief
 description:
                                                                   9,000.00
                                                                 $________________            $ ____________
                                                                                              ✔  997.31
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:         3.2
                 2011 Toyota Venza                                                                                                 Mo. Rev. Stat. § 513.430 1.(5)
 Brief
 description:
                                                                   9,000.00
                                                                 $________________              500.00
                                                                                             ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.2

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                               5
                                                                                                                                                           page 1 of __
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Debtor          Michael Christopher Dean                       Pg 22 of 221
               _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                        Specific laws that allow exemption
                                                                           Current value of the   exemption you claim
         on Schedule A/B that lists this property                          portion you own
                                                                          Copy the value from    Check only one box
                                                                           Schedule A/B           for each exemption
               Household goods - Furniture and appliances                                                                               Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         6
               Electronics - 62" Television, sound bar, 2 Apple laptops;                                                                Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
               2 iphones                                                   $________________
                                                                            2,000.00              
                                                                                                  ✔ $ ____________
                                                                                                      1,000.00
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:          7
               Collectibles of value - 20,000+ Magic the Gathering                                                                      Mo. Rev. Stat. § 513.430 1.(1)
Brief          Cards
description:                                                               $________________
                                                                            500.00                
                                                                                                  ✔ $ ____________
                                                                                                      250.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         8
               Sports and hobby equipment - Bicycle                                                                                     Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         9
               Clothing - Miscellaneous clothing                                                                                        Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         11
               Jewelry - 2 Steinhart watches                                                                                            Mo. Rev. Stat. § 513.430 1.(2)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         12
               Jewelry - Wedding Bands                                                                                                  Mo. Rev. Stat. § 513.430 1.(2)
Brief
description:
                                                                            3,000.00
                                                                           $________________         1,500.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:        12
               UFB Direct - Michael Dean (Checking)                                                                                     Mo. Rev. Stat. § 513.440
Brief
description:
                                                                            10.00
                                                                           $________________         10.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:          17.2
               First Community Credit Union (Checking)                                                                                  Mo. Rev. Stat. § 513.440
Brief
description:
                                                                            493.40
                                                                           $________________       $ ____________
                                                                                                  ✔   493.40
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         17.6
               Central Bank (Checking)                                                                                                  Mo. Rev. Stat. § 513.440
Brief                                                                       37.65
description:                                                               $________________       $ ____________
                                                                                                  ✔   37.65
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:          17.7
               Alliant Credit Union (Checking)                                                                                          Mo. Rev. Stat. § 513.440
Brief
description:
                                                                            5.00
                                                                           $________________         5.00
                                                                                                  ✔ $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:           17.8
               Fidelity - Cash Management Account (Brokerage)                                                                           Mo. Rev. Stat. § 513.440
Brief
description:
                                                                            406.49
                                                                           $________________         406.49
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           18


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                         page ___ of __  5
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Debtor          Michael Christopher Dean                       Pg 23 of 221
               _______________________________________________________      Case number (if known)_____________________________________
                First Name     Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                       Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Fidelity - Taxable Investment Account (Brokerage)                                                                     Mo. Rev. Stat. § 513.440
Brief
description:
                                                                          0.15
                                                                         $________________         0.15
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        18
               Vanguard IRA                                                                                                          Mo. Rev. Stat. § 513.430 1.(10) (f)
Brief
description:                                                             $________________
                                                                          46,739.52             
                                                                                                ✔ $ ____________
                                                                                                    46,739.52
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:         21
               Dearborn National Life Term Life - Daughter 2 - through                                                               Mo. Rev. Stat. § 513.430 1.(7)
Brief          Orchard Farm School District
description:                                                             $________________
                                                                          0.00                  
                                                                                                ✔ $ ____________
                                                                                                    0.00
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         31
               Dearborn National Life Term Life - Daughter 1 - through                                                               Mo. Rev. Stat. § 513.430 1.(7)
Brief          Orchard Farm School District
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         31
               Dearborn National Life Term Life - Michael Dean -                                                                     Mo. Rev. Stat. § 513.430 1.(7)
Brief          through Orchard Farm School District
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        31
               Dearborn National Life Term Life - Meredith Dean -                                                                    Mo. Rev. Stat. § 513.430 1.(7)
Brief
description:
               Through Orchard Farm School District                       0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         31
               Brighthouse Financial - Term Life - Michael Dean                                                                      Mo. Rev. Stat. § 513.430 1.(7)
Brief
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        31
               Cash on hand (Cash On Hand)                                                                                           Mo. Rev. Stat. § 513.440
Brief
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                      3
                                                                                                                                                       page ___ of __ 5
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                                                                 Pg 24 of 221
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            Meredith Leigh Miller Dean
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Missouri District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim
        Debtor 2 Exemptions
                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 2012 Volkswagen Tiguan                                                                                            Mo. Rev. Stat. § 513.430 1.(5)
 Brief
 description:
                                                                  5,000.00
                                                                 $________________              2,500.00
                                                                                             ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        3.1
                 2011 Toyota Venza                                                                                                 Mo. Rev. Stat. § 513.430.1(3)
 Brief
 description:
                                                                   9,000.00
                                                                 $________________            $ ____________
                                                                                              ✔  590.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:         3.2
                 2011 Toyota Venza                                                                                                 Mo. Rev. Stat. § 513.430 1.(5)
 Brief
 description:
                                                                   9,000.00
                                                                 $________________              500.00
                                                                                             ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.2

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                               5
                                                                                                                                                           page 1 of __
             Case 19-46230 Doc 1 Filed 10/03/19 Entered 10/03/19 17:32:42 Main Document
Debtor          Meredith Leigh Miller Dean                     Pg 25 of 221
               _______________________________________________________      Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                        Specific laws that allow exemption
                                                                           Current value of the   exemption you claim
         on Schedule A/B that lists this property                          portion you own
                                                                          Copy the value from    Check only one box
                                                                           Schedule A/B           for each exemption
               Household goods - Furniture and appliances                                                                               Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         6
               Electronics - 62" Television, sound bar, 2 Apple laptops;                                                                Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
               2 iphones                                                   $________________
                                                                            2,000.00              
                                                                                                  ✔ $ ____________
                                                                                                      1,000.00
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:          7
               Collectibles of value - 20,000+ Magic the Gathering                                                                      Mo. Rev. Stat. § 513.430 1.(1)
Brief          Cards
description:                                                               $________________
                                                                            500.00                
                                                                                                  ✔ $ ____________
                                                                                                      250.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         8
               Sports and hobby equipment - Bicycle                                                                                     Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         9
               Clothing - Miscellaneous clothing                                                                                        Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         11
               Jewelry - 2 Steinhart watches                                                                                            Mo. Rev. Stat. § 513.430 1.(2)
Brief
description:
                                                                            500.00
                                                                           $________________         250.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         12
               Jewelry - Wedding Bands                                                                                                  Mo. Rev. Stat. § 513.430 1.(2)
Brief
description:
                                                                            3,000.00
                                                                           $________________         1,500.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:        12
               UFB Direct - Meredith Dean (Checking)                                                                                    Mo. Rev. Stat. § 513.430.1(3)
Brief
description:
                                                                            10.00
                                                                           $________________         10.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:             17.1
               Fidelity                                                                                                                 Mo. Rev. Stat. § 513.430 1.(10) (f)
Brief
description:
                                                                            16,695.00
                                                                           $________________       $ ____________
                                                                                                  ✔   16,695.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:       21
               PEERS Retirement Account                                                                                                 Mo. Rev. Stat. § 169.090
Brief                                                                       3,322.02
description:                                                               $________________       $ ____________
                                                                                                  ✔   3,322.02
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         21
               State Farm 401k                                                                                                          Mo. Rev. Stat. § 513.430 1.(10) (f)
Brief
description:
                                                                            28,749.77
                                                                           $________________         28,749.77
                                                                                                  ✔ $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:        21
               Dearborn National Life Term Life - Daughter 2 - through                                                                  Mo. Rev. Stat. § 513.430 1.(7)
Brief        Orchard Farm School District
description:
                                                                            0.00
                                                                           $________________         0.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:             31


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                        4
                                                                                                                                                          page ___ of __ 5
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Debtor          Meredith Leigh Miller Dean                     Pg 26 of 221
               _______________________________________________________      Case number (if known)_____________________________________
                First Name     Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                       Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Dearborn National Life Term Life - Daughter 1 - through                                                               Mo. Rev. Stat. § 513.430 1.(7)
Brief        Orchard Farm School District
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         31
               Dearborn National Life Term Life - Michael Dean -                                                                     Mo. Rev. Stat. § 513.430 1.(7)
Brief
description:
               through Orchard Farm School District                      $________________
                                                                          0.00                  
                                                                                                ✔ $ ____________
                                                                                                    0.00
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:        31
               Dearborn National Life Term Life - Meredith Dean -                                                                    Mo. Rev. Stat. § 513.430 1.(7)
Brief          Through Orchard Farm School District
description:                                                             $________________
                                                                          0.00                  
                                                                                                ✔ $ ____________
                                                                                                    0.00
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         31
               Brighthouse Financial - Term Life - Meredith Dean                                                                     Mo. Rev. Stat. § 513.430 1.(7)
Brief
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        31
               Cash on hand (Cash On Hand)                                                                                           Mo. Rev. Stat. § 513.440
Brief
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                      5
                                                                                                                                                      page ___ of __  5
                 Case 19-46230                Doc 1             Filed 10/03/19 Entered 10/03/19 17:32:42                                  Main Document
                                                                           Pg 27 of 221
 Fill in this information to identify your case:

                     Michael Christopher Dean
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            Meredith Leigh Miller Dean
                     ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Missouri District of __________
                                                                                           (State)
 Case number         ___________________________________________
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      ✔      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________               As of the date you file, the claim is: Check all that apply.

      ______________________________________
                                                               Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
2.2                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________                   Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                                 0.00
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
              Case 19-46230                Doc 1Filed 10/03/19 Entered 10/03/19 17:32:42 Main Document
Debtor 1
               Michael Christopher Dean                         Pg 28 of 221
                _______________________________________________________      Case number (if known)_____________________________________
                First Name   Middle Name           Last Name


  Pa rt 2 :     List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                   Case 19-46230                    Doc 1             Filed 10/03/19 Entered 10/03/19 17:32:42                                  Main Document
  Fill in this information to identify your case:                                Pg 29 of 221
                           Michael Christopher Dean
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name                Last Name

      Debtor 2            Meredith Leigh Miller Dean
                          ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name                Last Name


      United States Bankruptcy Court for the: ______________________
                                              Eastern District of Missouri District of __________
                                                                                               (State)
      Case number         ___________________________________________
                                                                                                                                                           Check if this is an
      (If known)                                                                                                                                              amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                           12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                          Total claim    Priority     Nonpriority
                                                                                                                                                         amount       amount
            Indiana Department of Revenue
2.1                                                                                                                                    2,149.38 $___________
                                                                                                                                                    1,600.00 $____________
                                                                                                                                                              549.38
                                                                          Last 4 digits of account number      1940                  $_____________
           ____________________________________________
           Priority Creditor’s Name
            PO Box 7206                                                   When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                   As of the date you file, the claim is: Check all that apply.
           Indianapolis             IN      46207
           ____________________________________________                      Contingent
           City                                 State    ZIP Code
                                                                             Unliquidated
           Who incurred the debt? Check one.                                 Disputed
           
           ✔      Debtor 1 only                                           Type of PRIORITY unsecured claim:
                 Debtor 2 only                                              Domestic support obligations
                 Debtor 1 and Debtor 2 only                              
                                                                          ✔   Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                             Claims for death or personal injury while you were
                 Check if this claim is for a community debt                 intoxicated
                                                                             Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
             Internal Revenue Service
2.2
                                                                          Last 4 digits of account number                                 0.00
                                                                                                                                         $_____________  0.00
                                                                                                                                                        $___________  0.00
                                                                                                                                                                     $____________
            ____________________________________________
            Priority Creditor’s Name                                      When was the debt incurred?          ____________
             Centralized Insolvency Operation
            ____________________________________________
            Number           Street                                       As of the date you file, the claim is: Check all that apply.
             PO Box 7346
            ____________________________________________                     Contingent
             Philadelphia            PA     19101
            ____________________________________________                     Unliquidated
            City                                State    ZIP Code
                                                                             Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                          Type of PRIORITY unsecured claim:
           
           ✔       Debtor 2 only                                             Domestic support obligations
                  Debtor 1 and Debtor 2 only                             
                                                                          ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                             Claims for death or personal injury while you were
                  Check if this claim is for a community debt                intoxicated
                                                                             Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of ___
                                                                                                                                                                          141
                 Michael
              Case         Christopher Dean
                        19-46230            Doc 1 Filed 10/03/19 Entered 10/03/19    17:32:42             Main Document
Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name      Last Name
                                                                Pg 30 of 221
Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                          Total claim   Priority     Nonpriority
                                                                                                                                              amount       amount

2.3   Internal Revenue Service
                                                                                                                                  0.00          0.00        0.00
                                                                 Last 4 digits of account number                                $____________ $__________ $____________
                                                                                                      7425
      ____________________________________________
      Priority Creditor’s Name                                   When was the debt incurred?          ____________
      Centralized Insolvency Operation
      ____________________________________________
      Number           Street                                    As of the date you file, the claim is: Check all that apply.
      PO Box 7346
      ____________________________________________                  Contingent
      Philadelphia             PA     19101                         Unliquidated
      ____________________________________________
      City                                State    ZIP Code         Disputed
                                                                 Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                             Domestic support obligations
      
      ✔      Debtor 1 only                                       
                                                                 ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                          Claims for death or personal injury while you were
                                                                     intoxicated
            Debtor 1 and Debtor 2 only
                                                                    Other. Specify
            At least one of the debtors and another

            Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔
            No
            Yes
2.4    Missouri Department of Revenue
                                                                                                                                 0.00           0.00        0.00
                                                                 Last 4 digits of account number                                $____________ $__________ $____________
                                                                                                      5808
      ____________________________________________               When was the debt incurred?          ____________
      Priority Creditor’s Name
       PO Box 500
      ____________________________________________               As of the date you file, the claim is: Check all that apply.
      Number            Street

      ____________________________________________                  Contingent
                                                                    Unliquidated
       Jefferson City                     MO
      ____________________________________________
                                                  65106             Disputed
      City                                State    ZIP Code
                                                                 Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                             Domestic support obligations
            Debtor 1 only                                       
                                                                 ✔   Taxes and certain other debts you owe the government
      
      ✔      Debtor 2 only                                          Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                              intoxicated
            At least one of the debtors and another                Other. Specify

            Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes
2.5   Missouri Department of Revenue
                                                                                                                                  0.00          0.00        0.00
                                                                 Last 4 digits of account number      7425                      $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                   When was the debt incurred?          ____________
      PO Box 500
      ____________________________________________
      Number           Street                                    As of the date you file, the claim is: Check all that apply.
      ____________________________________________                  Contingent

      Jefferson City           MO     65106                         Unliquidated
      ____________________________________________
      City                                State   ZIP Code          Disputed
                                                                 Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                             Domestic support obligations

      
      ✔ Debtor 1 only                                            
                                                                 ✔   Taxes and certain other debts you owe the government

       Debtor 2 only                                               Claims for death or personal injury while you were
                                                                     intoxicated
       Debtor 1 and Debtor 2 only                                  Other. Specify
       At least one of the debtors and another
       Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes


  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page __
                                                                                                                                                               2 of ___
                                                                                                                                                                     141
                    Michael
                 Case         Christopher Dean
                           19-46230            Doc 1 Filed 10/03/19 Entered 10/03/19    17:32:42             Main Document
 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 31 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Aashiv Shah                                                                                                                                          Total claim
4.1
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                         5,520.00
                                                                                                                                                             $__________________
         Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?           ____________
          940 Linden Ave
         _____________________________________________________________
         Number           Street
          Apt 122
         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Sunnyvale                           CA       94086-8811
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
                                                                                        Unliquidated
         Who incurred the debt? Check one.                                              Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant

         
         ✔      No
               Yes
4.2
         Abhishek Kochhar                                                            Last 4 digits of account number                                          717.00
                                                                                                                                                             $__________________
         _____________________________________________________________               When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         600 Pine Hollow Rd
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         Apt 13-1A
         _______________________________________________________________________
          East Norwich                                    NY
                                                      11732-1031
                                                                                        Contingent
         _____________________________________________________________                  Unliquidated
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Adebavo Oshin
4.3
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                        100.05
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3504 Stearns Hill Rd
         _____________________________________________________________
         Number           Street

         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Waltham                             MA       02451-7113
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

         
         ✔      Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                             
                                                                                     ✔   Other. Specify The Plastic Merchant

         
         ✔ No

               Yes


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                   Michael
                Case         Christopher Dean
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 Debtor 1         _______________________________________________________      Case number (if known)_____________________________________
                  First Name      Middle Name      Last Name
                                                                  Pg 32 of 221
 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     Aditya Pandurangi
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            186.05
                                                                                                                                                            $__________________
        950 Franklin St                                                             When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street
        Apt 54
       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        San Francisco                                    CA        94109-7773
       _____________________________________________________________
       City                                              State      ZIP Code           Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify The Plastic Merchant
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Agrim Jindal                                                                Last 4 digits of account number                                          4,173.50
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        4335 Tarlton Way
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sugarland                           TX       77478-5287                         Contingent
       _____________________________________________________________
       City                                              State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify The Plastic Merchant
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Alaina Barham                                                               Last 4 digits of account number
        _____________________________________________________________                                                                                        120.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        2825 Downing Circle
        _____________________________________________________________
        Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Birmingham                          AL       35242-4619
        _____________________________________________________________                  Contingent
        City                                             State      ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify The Plastic Merchant
       
       ✔       No
              Yes


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                   Michael
                Case         Christopher Dean
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 Debtor 1         _______________________________________________________      Case number (if known)_____________________________________
                  First Name      Middle Name      Last Name
                                                                  Pg 33 of 221
 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Alan Chu
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            909.50
                                                                                                                                                            $__________________
        988 Franklin St                                                             When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street
        Apt 1211
       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Oakland                                          CA        94607-4226
       _____________________________________________________________
       City                                              State      ZIP Code           Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify The Plastic Merchant
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Alan Lee                                                                    Last 4 digits of account number                                          537.05
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        3695 Stevenson Blvd
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Unit 342
       _______________________________________________________________________
       Freemont                            CA       94538-2376                         Contingent
       _____________________________________________________________
       City                                              State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify The Plastic Merchant
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Alan Myrold                                                                 Last 4 digits of account number
        _____________________________________________________________                                                                                        1,325.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        1850 NW Locust St
        _____________________________________________________________
        Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Corvallis                           OR       97330-1367
        _____________________________________________________________                  Contingent
        City                                             State      ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify The Plastic Merchant
       
       ✔       No
              Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 34 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.10 Alan Penner
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            1,680.10
                                                                                                                                                             $__________________
         8 Baker Ln                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Goleta                                           CA        93117-1359
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Alexander Han                                                                   Last 4 digits of account number                                          480.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         632 Concord Way
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Prospect Heights                    IL       60070-3417                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Alex Barbalat                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        7,067.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         253 Arrowhead Way
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Hayward                             CA       94544-6649
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 35 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.13 Alex Luu
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            620.25
                                                                                                                                                             $__________________
         1367 9th Ave                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street
         Apt 5
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         San Francisco                                    CA        94122-2329
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Alex Paulenoff                                                                  Last 4 digits of account number                                          745.55
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         110 4th Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Apt 7C
        _______________________________________________________________________
        Brooklyn                            NY       11217-2789                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Alex Sun                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                        685.05
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         75 Orangewood Ct
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Redlands                            CA       92373-1443
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 36 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.16 Alex Yarmulnik
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            40.00
                                                                                                                                                             $__________________
         160 Morgan St                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street
         Apt 1212
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Jersey City                                      NJ        07302-6243
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Allan Else, Jr.                                                                 Last 4 digits of account number                                          1,698.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         3312 Wilmette Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmette                            IL       60091-2961                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Allegiant Path, LLC                                                         Last 4 digits of account number       4505
         _____________________________________________________________                                                                                        135.11
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         5700 Southwyck Blvd
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Toledo                              OH       43614
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 37 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.19 Allison Adams
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            170.00
                                                                                                                                                             $__________________
         1856 Solera Dr                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Columbus                                         OH        43229-2743
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Alwina Moricle                                                                  Last 4 digits of account number                                          2,559.50
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         3279 Suffolk Downs
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Stow                                OH       44224-5811                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     American Express                                                            Last 4 digits of account number       1001
         _____________________________________________________________                                                                                        6,012.10
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 981535
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         El Paso                             TX       79998
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

        
        ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 38 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.22 American Express                                                                                                      2008
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            65.00
                                                                                                                                                             $__________________
         PO Box 981535                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         El Paso                                          TX        79998
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 American Express                                                                Last 4 digits of account number       1004                               8,640.24
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 981535
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        El Paso                             TX       79998                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     American Express                                                            Last 4 digits of account number       1008
         _____________________________________________________________                                                                                        15,424.20
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 981535
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         El Paso                             TX       79998
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 39 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.25 American Express                                                                                                      1006
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            55,252.32
                                                                                                                                                             $__________________
         PO Box 981535                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         El Paso                                          TX        79998
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Amy Tessin                                                                      Last 4 digits of account number                                          360.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2497 San Simon St
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Tustin                              CA       92782-8023                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     Andrew Churchill                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                        170.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         17608 Zullo Dr
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Poolesville                         MD       20837-2145
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.28 Andrew Deblase
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            1,151.50
                                                                                                                                                             $__________________
         633 Ebersole Rd                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Reading                                          PA        19605-3290
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.29 Andrew Hartnett                                                                 Last 4 digits of account number                                          85.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         4440 Lindell Blvd
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Apt 702
        _______________________________________________________________________
        Saint Louis                         MO       63108-2436                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.30     Andrew Schroeder                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                        340.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         818 N Logan St
         _____________________________________________________________
         Number           Street
         Apt 301                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Denver                              CO       80203-3121
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 41 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.31 Andrey Nauman
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            960.05
                                                                                                                                                             $__________________
         280 Marin Blvd                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street
         Apt 21M
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Jersey City                                      NJ        07302-4607
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.32 Anna Zaks                                                                       Last 4 digits of account number                                          360.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         5047 Everton Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Solon                               OH       44139-1282                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.33     Anthony Forlizzi                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                        250.52
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         2 Eisenhower Rd
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Peabody                             MA       01960-2204
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.34 Anthony Hunter
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            257.50
                                                                                                                                                             $__________________
         5218 Ellis Godfrey Dr                                                       When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Fairfield                                        CA        94533-1428
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.35 Anthony Smith                                                                   Last 4 digits of account number                                          7,780.50
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         565 S Mason Rd
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Fl 409
        _______________________________________________________________________
        Katy                                TX       77450-2437                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.36     Anwar Torres                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        244.50
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         76 Cedar St
         _____________________________________________________________
         Number           Street
         Unit 406                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Seattle                             WA       98121-4104
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.37 Arnold Lin
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            5,660.00
                                                                                                                                                             $__________________
         331 Louie Ave                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Lodi                                             CA        95240-1122
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.38 Asad Jawed                                                                      Last 4 digits of account number                                          1,990.61
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         14338 General Ct
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Plainfield                          IL       60544-2429                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.39     Balachandra Divvela                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                        369.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         5830 Stansbury Smt
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Alpharetta                          GA       30005-4319
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 44 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.40 Bank of America                                                                                                       5178
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            55.35
                                                                                                                                                             $__________________
         PO Box 851001                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Dallas                                           TX        75285
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.41 Barclays Bank Delaware                                                          Last 4 digits of account number       2862                               5,921.97
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 8801
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19899                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.42     Barry Blumenthal                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                        225.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         105 Chickamaw Pl
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Madeville                           LA       70471-1610
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.43 Ben Nickel-S'Andrea
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            240.00
                                                                                                                                                             $__________________
         6758 35th Ave SW                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Seattle                                          WA        98126-3045
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.44 Benson Sim                                                                      Last 4 digits of account number                                          1,360.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         6314 Queens Blvd
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Apt 5R
        _______________________________________________________________________
        Woodside                            NY       11377-5784                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.45     Bethany Walsh                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        80.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         905 Sunrise Ave
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Bellmore                            NY       11710-4531
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.46 BJC Healthcare                                                                                                        5311
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            874.43
                                                                                                                                                             $__________________
         PO Box 958410                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Saint Louis                                      MO        63195
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.47 BJC Home Infusion                                                               Last 4 digits of account number       6480                               94.99
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 957364
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Saint Louis                         MO       63195                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.48     Brandon Fredman                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                        92.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         1028 Sandstone Dr
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Saint Louis                         MO       63146-5032
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.49 Brandr Beekman-Ellner
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            484.70
                                                                                                                                                             $__________________
         8703 Stone Hill Pl                                                          When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Springfield                                      VA        22153-1717
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.50 Brian Crow                                                                      Last 4 digits of account number                                          100.05
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         428 Prospect Pl Apt 1R
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Brooklyn                            NY       11238-4168                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.51     Brian Johnson                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        174.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3732 Pescadero Dr
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Santa Barbara                       CA       93105-4478
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 48 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.52 Brian Kutnick
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            380.00
                                                                                                                                                             $__________________
         299 Princeton Dr                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Canton                                           MI        48188-1030
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.53 Brian Lim                                                                       Last 4 digits of account number                                          277.05
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         213 Prospect Ave Bsmt
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Brooklyn                            NY       11215-5315                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.54     Brian Wong                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        300.05
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         601 E. Micheltorena St
         _____________________________________________________________
         Number           Street
         Unit 68                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Santa Barbara                       CA       93103-1986
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 49 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.55 Brion Bastian
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            1,167.50
                                                                                                                                                             $__________________
         2615 Myrtle Ln                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Burlington                                       KY        41005-7862
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.56 Bruce DeGrinder                                                                 Last 4 digits of account number                                          243.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         3528 Barretts Ferry Dr
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Williamsburg                        VA                                          Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.57     Bryan Gambrel                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        665.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3827 Paxton Ave
         _____________________________________________________________
         Number           Street
         Apt 927                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Cincinnati                          OH       45209-2419
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 50 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.58 Bryan Mayer
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            218.55
                                                                                                                                                             $__________________
         12 Fairlawn Dr                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Central Islip                                    NY        11722-4664
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.59 Bryan Weiss                                                                     Last 4 digits of account number                                          249.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2697 Carlton Pl NE
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Brookhaven                          GA       30319-3621                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.60     Buenaventura Hormazabal                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                        255.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         898 NW 45th Ave
         _____________________________________________________________
         Number           Street
         Apt 36                                                                      As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Miami                               FL       33126-2473
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 51 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.61 Cameron Newland
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            158.00
                                                                                                                                                             $__________________
         11018 NE 11th St                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street
         Apt 112
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Bellevue                                         WA        98004-4576
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.62 Cameron Todd                                                                    Last 4 digits of account number                                          200.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1210 Calhoun St
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        New Orleans                         LA       70118-6002                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.63     Capital One Services, LLC                                                   Last 4 digits of account number       5138
         _____________________________________________________________                                                                                        21,886.05
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 30285
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Salt Lake City                      UT       84130
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

        
        ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.64 Carlos Ortega Lopez
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            5,449.00
                                                                                                                                                             $__________________
         7203 Fred Morse Dr                                                          When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Austin                                           TX        78723-1610
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.65 Carols Suarex                                                                   Last 4 digits of account number                                          87.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         34 Alta St
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Apt C
        _______________________________________________________________________
        Arcadia                             CA       91006-3616                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.66     Casey Donnelly                                                              Last 4 digits of account number
         _____________________________________________________________                                                                                        1,284.30
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         1163 W Peachtree St NE
         _____________________________________________________________
         Number           Street
         Apt 1715                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30309-4542
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 53 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.67 Cavalry SPV I, LLC                                                                                                    5292
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            3,747.62
                                                                                                                                                             $__________________
         500 Summit Lake Drive, Suite 400                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Valhalla                                         NY        10595
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.68 Cavalry SPV I, LLC                                                              Last 4 digits of account number       7370                               3,078.52
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         500 Summit Lake Drive, Suite 400
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Valhalla                            NY       10595                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.69     Centerpointe Hospital                                                       Last 4 digits of account number       5402
         _____________________________________________________________                                                                                        4,358.93
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 671561
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dallas                              TX       75267
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 54 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.70 Centerpointe Physician Services
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            10.00
                                                                                                                                                             $__________________
         4801 Weldon Springs Parkway                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Saint Charles                                    MO        63304
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.71 Chad Thompson                                                                   Last 4 digits of account number                                          2,160.05
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         7834 Broomsage Pl
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Tallahassee                         FL       32309-2050                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.72     Chantal Tu                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        574.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3663 BRanding Iron Pl
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dublin                              CA       94568-7297
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 55 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.73 Charles Doherty
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            261.00
                                                                                                                                                             $__________________
         11420 Hyde Parkway                                                          When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Springhill                                       FL        34609-9607
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.74 Charles Li                                                                      Last 4 digits of account number                                          118.50
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1182 Barrington Ct
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        San Jose                            CA       95121-2602                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.75     Charles Smith                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        237.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         121 Braircliff Dr
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Egg Harbor Township                 NJ       08234-8208
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 56 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.76 Chase Bank USA, N.A.                                                                                                  0085
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            32,666.76
                                                                                                                                                             $__________________
         PO Box 15123                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Wilmington                                       DE        19850
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.77 Chase Bank USA, N.A.                                                            Last 4 digits of account number       0794                               34,314.46
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 6294
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Carol Stream                        IL       60197                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.78     Chase Bank USA, N.A.                                                        Last 4 digits of account number       4498
         _____________________________________________________________                                                                                        5,768.05
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 15123
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wilmington                          DE       19850
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 57 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.79 Chase Bank USA, N.A.                                                                                                  2449
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            6,320.18
                                                                                                                                                             $__________________
         PO Box 15123                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Wilmington                                       DE        19850
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.80 Chase Bank USA, N.A.                                                            Last 4 digits of account number       3613                               624.06
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 15123
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19850                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.81     Chase Bank USA, N.A.                                                        Last 4 digits of account number       5665
         _____________________________________________________________                                                                                        7,014.01
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 15123
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wilmington                          DE       19850
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 58 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.82 Chase Bank USA, N.A.                                                                                                  0156
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            5,924.14
                                                                                                                                                             $__________________
         PO Box 15123                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Wilmington                                       DE        19850
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.83 Chase Bank USA, N.A.                                                            Last 4 digits of account number       2734                               33,243.04
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 15123
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19850                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.84     Chase Bank USA, N.A.                                                        Last 4 digits of account number       3190
         _____________________________________________________________                                                                                        4,941.20
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         PO Box 15123
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wilmington                          DE       19850
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

        
        ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 59 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.85 Chase Bank USA, N.A.                                                                                                  5369
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            602.62
                                                                                                                                                             $__________________
         PO Box 15123                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Wilmington                                       DE        19850
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.86 Chase Bank USA, N.A.                                                            Last 4 digits of account number       0628                               5,763.40
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 15123
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19850                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.87     Cheng Wang                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        11,600.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         38 N. Almaden Blvd
         _____________________________________________________________
         Number           Street
         Unit 1406                                                                   As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         San Jose                            CA       95110-2755
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
                 Case         Christopher Dean
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 60 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.88 Chia Yang
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            3,800.00
                                                                                                                                                             $__________________
         2853 Cedro Ln                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Walnut Creek                                     CA        94598-3845
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.89 Chih Yoa Huang                                                                  Last 4 digits of account number                                          340.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         23 Adair Way
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Hayward                             CA       94542-7940                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.90     Chih-yu Choa                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        716.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         1426 32nd Ave
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Seattle                             WA       98122-3314
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 61 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.91 Chirayu Modi
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            1,348.25
                                                                                                                                                             $__________________
         99 S. Beech Springs Circle                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         The Woodlands                                    TX        77389-4446
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.92 Chris Baxter                                                                    Last 4 digits of account number                                          950.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         3385 Korbel St
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Eugene                              OR       97404-3880                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.93     Chris Cheng                                                                 Last 4 digits of account number
         _____________________________________________________________                                                                                        1,906.50
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         15409 Pescadero Dr
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wichita                             KS       67230-7254
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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 Debtor 1          _______________________________________________________      Case number (if known)_____________________________________
                   First Name      Middle Name      Last Name
                                                                   Pg 62 of 221
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.94 Chris Sobeck
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            457.05
                                                                                                                                                             $__________________
         1398 Skyline Dr                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Winona                                           MN        55987-5447
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.95 Christopher Cardinale                                                           Last 4 digits of account number                                          961.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         14205 Consititution Cir
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Apt 11
        _______________________________________________________________________
        Bellevue                            NE       68123-6861                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.96     Christopher Carley                                                          Last 4 digits of account number
         _____________________________________________________________                                                                                        474.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         7221 Hyannis Dr
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         West Hills                          CA       91307-1323
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                    Michael
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                   First Name      Middle Name      Last Name
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.97 Christopher Eyin
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            712.50
                                                                                                                                                             $__________________
         9447 Canonbury Sq                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Fairfax                                          VA        22031-6097
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.98 Christopher Lamele                                                              Last 4 digits of account number                                          457.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         5420 Kansas St.
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Unit A
        _______________________________________________________________________
        Houston                             TX       77007-1275                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify The Plastic Merchant
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.99     Christopher Weber                                                           Last 4 digits of account number
         _____________________________________________________________                                                                                        190.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3031 Beth Ct
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Edgewood                            KY       41017-9665
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify The Plastic Merchant
        
        ✔       No
               Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.100 Chun Liang
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            484.50
                                                                                                                                                           $__________________
       12180 164th Ct NE                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Redmond                                          WA        98052-2399
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.101 Citibank, N.A.                                                               Last 4 digits of account number       6693                               15,366.71
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 790040
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Louis                         MO       63179                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.102 Clinlab                                                                      Last 4 digits of account number       0145
       _____________________________________________________________                                                                                        360.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       763 S New Ballas Rd., Ste 160
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Louis                         MO       63141
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Medical Services
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.103 Curt Scott, II
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            220.05
                                                                                                                                                           $__________________
       43 Kai Makani Loop                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 203
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kihei                                            HI        96753-5502
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.104 Cynthia Logsdon                                                              Last 4 digits of account number                                          1,617.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2478 W 2350 N
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lehi                                UT       84043-5757                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.105 Daisy Chen                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        200.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       338 Oak St
       _____________________________________________________________
       Number           Street
       Apt 2                                                                       As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mountain View                       CA       94041-1262
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.106 Daniel DeBerardinis
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            360.00
                                                                                                                                                           $__________________
       22 Boltwood Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Castleton                                        NY        12033-1012
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.107 Darnell Pettiford                                                            Last 4 digits of account number                                          220.05
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1047 Silver Star St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Henderson                           NV       89002-6561                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.108 Darren Otten                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        1,355.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6420 E. Dixileta Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cave Creek                          AZ       85331-6186
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.109 David Lee
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,750.00
                                                                                                                                                           $__________________
       10444 Rockville Pike                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 401
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Rockville                                        MD        20852-3329
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.110 David Newman                                                                 Last 4 digits of account number                                          694.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1853 Serene Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lancaster                           PA       17602-7001                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.111 David Piper                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        237.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       911 Pretense Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pittsburgh                          PA       15203-1214
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.112 David Wallisch
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            40.50
                                                                                                                                                           $__________________
       3210 Summit St                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kansas City                                      MO        64111-2711
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.113 Dawn Bloomingdale                                                            Last 4 digits of account number                                          1,107.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       714 Springton Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Upper Chichester                    PA       19014-3025                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.114 Derek Wright                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        546.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       707 Beverley Rd
       _____________________________________________________________
       Number           Street
       Apt 2K                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brooklyn                            NY       11218-3332
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 69 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.115 Derrick Ozuna
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            305.50
                                                                                                                                                           $__________________
       4500 Steiner Ranch Blvd                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 2605
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Austin                                           TX        78732-2346
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.116 Derrick Teo                                                                  Last 4 digits of account number                                          729.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       688 110th Ave NE
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt S2003
       _______________________________________________________________________
       Bellevue                            WA       98004-8448                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.117 Diana Nguyen                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        124.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       112 McNamee Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Folsom                              CA       95630-3292
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 70 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.118 Dino Feliciano
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            896.00
                                                                                                                                                           $__________________
       8248 Kenton Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Skokie                                           IL        60076-2612
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.119 Direct Checks Unlimited Sales, Inc.                                          Last 4 digits of account number       9244                               17.16
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       c/o McCarthy, Burgess & Wolff, Inc.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       26000 Cannon Road
       _______________________________________________________________________
       Bedford                             OH       44146                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
             Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
      
      ✔       Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.120 Discover Bank                                                                Last 4 digits of account number       9112
       _____________________________________________________________                                                                                        33,038.77
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       PO Box 3008
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Albany                          OH       43054
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

             Debtor 1 only
                                                                                      Disputed

      
      ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Credit Card Debt
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 71 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.121 Distressed Asset Portfolio III, LLC
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            26,287.27
                                                                                                                                                           $__________________
       10625 Techwoods Circle                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Cincinnati                                       OH        45242
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.122 Dmitri Alechkevitch                                                          Last 4 digits of account number                                          280.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       40 Waterside Plz
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 23J
       _______________________________________________________________________
       New York                            NY       10010-2633                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.123 Dominik Buszko                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        294.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1369 Sago Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weston                              FL       33327-1628
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 Michael
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Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name      Last Name
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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.124 Donna Grooms
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           204.00
                                                                                                                                                          $__________________
       296 Hooker Rd                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Chatworth                                       GA        30705-5904
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.125 Donna Walker                                                                Last 4 digits of account number                                          237.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       9353 Lotus Elan Dr
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Las Vegas                           NV       89117-7103                        Contingent
      _____________________________________________________________
      City                                             State      ZIP Code           Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.126 Duong Huynh                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                        3,930.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       408 Athol Ave
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Oakland                             CA       94606-1418
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify The Plastic Merchant
      
      ✔      No
            Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 73 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.127 Dustin Hatton
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            884.50
                                                                                                                                                           $__________________
       900 Hargrove Rd                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 36
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Tuscaloosa                                       AL        35401-4858
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.128 Edward Jason Francisco                                                       Last 4 digits of account number                                          874.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3648 Fountain St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Camarillo                           CA       93012-7713                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.129 Ehsanul Haque                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        120.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3727 S 19th Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grand Forks                         ND       58201-3445
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 74 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.130 Ehtesham Qamar
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            42.00
                                                                                                                                                           $__________________
       5508 Pyramid Ct                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stockton                                         CA        95219-7152
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.131 Elizabeth Funk                                                               Last 4 digits of account number                                          357.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3707 N. Darwin Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tampa                               FL       33603-4607                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.132 Eric Dai                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        40.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       9001 Markville Dr
       _____________________________________________________________
       Number           Street
       Apt 1037                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dallas                              TX       75243-9372
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 75 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.133 Eric Theil
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            3,960.00
                                                                                                                                                           $__________________
       10531 4S Commons Dr # 232                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Diego                                        CA        92127-3517
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.134 Erik Fund                                                                    Last 4 digits of account number                                          320.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1342 38th ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Fransico                        CA       94122-1337                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.135 Erik Peterson                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        818.55
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5908 Kabaye CV
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX       78749-1927
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 76 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.136 Estefania Zapata-Garcia
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,212.50
                                                                                                                                                           $__________________
       2300 Pleasant Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 211
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Minneapolis                                      MN        55404-3241
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.137 Eugene Chung                                                                 Last 4 digits of account number                                          480.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1796 Grape St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Denver                              CO       80220-1351                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.138 Floyd Ferrer                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        573.25
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       18620 Palo Verde Ave
       _____________________________________________________________
       Number           Street
       Unit B                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cerritos                            CA       90703-9235
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.139 Frank Napolitano
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,375.00
                                                                                                                                                           $__________________
       88 Emma Way                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Poughquag                                        NY        12570-5662
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.140 Gabby Foster                                                                 Last 4 digits of account number                                          3,034.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       401 Little Texas Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 2331
       _______________________________________________________________________
       Austin                              TX       78745-4551                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.141 Gabe Perez-Giz                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        980.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2025 Broadway
       _____________________________________________________________
       Number           Street
       Apt 4F                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New York                            NY       10023-5038
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.142 Gabriel Ifems
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,640.00
                                                                                                                                                           $__________________
       3214 Cloverleaf Ct                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Manvel                                           TX        77578-7824
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.143 Gaurav Aggarwal                                                              Last 4 digits of account number                                          679.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7525 Tree Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt. 325 H
       _______________________________________________________________________
       Madison                             WI       53717-2066                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.144 Gaurav Panwar                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        1,244.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       18660 N. Cave Creek Rd
       _____________________________________________________________
       Number           Street
       Apt 203                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phoenix                             AZ       85024-4609
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 79 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.145 Glen Stansberry
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            690.10
                                                                                                                                                           $__________________
       534 Kansas St                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Lawrence                                         KS        66046-4822
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.146 Grant Thomas                                                                 Last 4 digits of account number                                          617.55
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1613 Parkway Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rohnert Park                        CA       94928-4733                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.147 Gregory Young                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        280.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       56 E 8th Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gloversville                        NY       12078-2236
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 80 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.148 Hanlong Wang
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            720.00
                                                                                                                                                           $__________________
       2715 Alma St                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Palo Alto                                        CA        94306-2305
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.149 Harshit Patel                                                                Last 4 digits of account number                                          301.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4010 Griffin Trail Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cumming                             GA       30041-3202                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.150 Harsh Shah                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        2,278.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1Hermann Park Ct
       _____________________________________________________________
       Number           Street
       Apt 351                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77021-2288
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 81 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.151 Heather Adams
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            150.37
                                                                                                                                                           $__________________
       13348 Apline Cove Dr                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Alpine                                           UT        84004-1855
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.152 Henry Truong                                                                 Last 4 digits of account number                                          300.05
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       420 W San Marcos Blvd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Unit 150
       _______________________________________________________________________
       San Marcos                          CA       92069-5640                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.153 Hiroki Watarai                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        2,439.05
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       83 Woodland Park Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tenafly                             NJ       07670-3029
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.154 Hrvoje Santic
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            240.00
                                                                                                                                                           $__________________
       3213 River Park Ln S                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 1226
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Fort Worth                                       TX        76116-1127
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.155 Hunter Threadgill                                                            Last 4 digits of account number                                          420.05
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2719 6th Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tuscaloosa                          AL       35401-5805                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.156 Igor Khislavsky                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        474.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       68 Pheasant Landing Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Needham                             MA       02492-1000
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.157 Irina Krasnikova
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            436.70
                                                                                                                                                           $__________________
       3140 Oak Rd                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 407
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Walnut Creek                                     CA        94597-7791
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.158 Jackie Jalley                                                                Last 4 digits of account number                                          120.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1024 Brunes Blvd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brownsburg                          IN       46112-7983                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.159 Jackson Gor                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        200.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1083 Melrose Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Alameda                             CA       94502-7066
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.160 Jackson Peterson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            172.00
                                                                                                                                                           $__________________
       5110 Old Chapel Hill Rd                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 437
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Durham                                           NC        27707-9102
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.161 Jacky Lau                                                                    Last 4 digits of account number                                          354.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       129 Hovey Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Gabriel                         CA       91776-3206                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.162 Jacob Etscheid                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        118.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1106 9th St.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lasalle                             IL       61301-1973
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.163 Jacob Levy
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            190.00
                                                                                                                                                           $__________________
       45 Montecito Ct                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sierra Madre                                     CA        91024-1972
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.164 James Austin                                                                 Last 4 digits of account number                                          22,325.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       25 Sierra St.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt E103
       _______________________________________________________________________
       San Francisco                       CA       94107-2868                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.165 James Duchnowski                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        275.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7206 Thannas Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX       78744-5020
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 86 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.166 James Durkin
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,614.00
                                                                                                                                                           $__________________
       6704 N. Ionia Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Chicago                                          IL        60646-2837
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.167 James Fulmer                                                                 Last 4 digits of account number                                          6,304.10
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11988 Barrel Cooper Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Reston                              VA       20191-2319                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.168 James O'Dwyer                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        120.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2255 Sheridan Blvd
       _____________________________________________________________
       Number           Street
       Unit C PMB 321                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Edgewater                           CO       80214-1313
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.169 James Thompson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            645.00
                                                                                                                                                           $__________________
       368 7th Ave                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 1
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Fransico                                     CA        94118-2381
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.170 Jane Schwalm                                                                 Last 4 digits of account number                                          2,090.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       213 Meadowbrook Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Staunton                            VA       24401-3561                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.171 Jason Dietrich                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        2,971.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2310 Quiet Place Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Walnut Creek                        CA       94598-4333
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.172 Jason Rubinstein
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            3,904.20
                                                                                                                                                           $__________________
       2868 Lindale St                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wantagh                                          NY        11793-2309
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.173 Jeff Perkins                                                                 Last 4 digits of account number                                          1,653.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5605 Central Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bonita                              CA       91902-2821                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.174 Jeffrey Goetz                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        80.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       101 Lawler Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Hartford                       CT       06117-2620
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.175 Jeffrey Gunn
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,150.00
                                                                                                                                                           $__________________
       124 South Ave SE                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA        30315-1506
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.176 Jennifer Branson                                                             Last 4 digits of account number                                          170.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1825 Honey Mesquite ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Flower Mound                        TX       75028-8221                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.177 Jennifer Schroeder                                                           Last 4 digits of account number
       _____________________________________________________________                                                                                        652.05
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2040 W Belmont Ave
       _____________________________________________________________
       Number           Street
       Apt 301                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chicago                             IL       60618-6486
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 90 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.178 Jen Stark
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,320.50
                                                                                                                                                           $__________________
       3631 N. Halsted St                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 512
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Chicago                                          IL        60613-4598
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.179 Jeremy Bass                                                                  Last 4 digits of account number                                          184.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6201 Twin Oaks Cir
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dallas                              TX       75240-5345                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.180 Jeremy Fox                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        433.80
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1514 Walnut St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Milwaukee                     WI       53172-1547
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 91 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.181 Jody Medford
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            318.91
                                                                                                                                                           $__________________
       3735 Lakewood Dr                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Waterford                                        MI        48329-3949
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.182 Jo Goh                                                                       Last 4 digits of account number                                          410.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11800 SE 68th Pl
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bellevue                            WA       98006-6420                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.183 John Farley                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        124.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2144 N. Franklin St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Denver                              CO       80205-5359
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.184 John King
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            875.00
                                                                                                                                                           $__________________
       3211 Hemlock Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Austin                                           TX        78722-1630
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.185 John McDermott                                                               Last 4 digits of account number                                          554.65
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4122 Cottage Wood Trail
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tallahassee                         FL       32311-4157                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.186 John Mostenan                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        170.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       118 Riverside Dr
       _____________________________________________________________
       Number           Street
       Apt 8D                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New York                            NY       10024-3708
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.187 John Pilafas
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            31,890.95
                                                                                                                                                           $__________________
       838 S Villa Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Villa Park                                       IL        60181-3366
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.188 Jonathan Dittmar                                                             Last 4 digits of account number                                          2,916.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9215 Mountain Magnolia Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverview                           FL       33578-8676                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.189 Jonathan Wang                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        246.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       225 E 36th St
       _____________________________________________________________
       Number           Street
       Apt 3F                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New York                            NY       10016-3666
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.190 Jon Nickel-D'Andrea
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,010.00
                                                                                                                                                           $__________________
       6758 35th Ave SW                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Seattle                                          WA        98126-3045
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.191 Jordan Lee                                                                   Last 4 digits of account number                                          200.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       392 Christopher Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Francisco                       CA       94131-1014                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.192 Joseph Robertson                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        1,357.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       211 Turf Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Louis                         MO       63119-4531
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 95 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.193 Joshua Schuman
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            117.00
                                                                                                                                                           $__________________
       1707 Logmill Ln                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Gaithersburg                                     MD        20879-3263
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.194 Judy Tonnu                                                                   Last 4 digits of account number                                          166.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5453 Plumeria Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cypress                             CA       90630-7912                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.195 Justin Pope                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        1,303.40
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3201 Esperanza Xing
       _____________________________________________________________
       Number           Street
       Apt 244                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX       78758-7863
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 96 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.196 Kai-Wen Hsueh
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            124.50
                                                                                                                                                           $__________________
       440 W. 41st St.                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 8L
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       New York                                         NY        10036-6829
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.197 Kalpesh Nandu                                                                Last 4 digits of account number                                          120.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       545 Goodwin Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bolingbrook                         IL       60440-2079                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.198 Kan Fu                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        760.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1800 Beaumont Dr
       _____________________________________________________________
       Number           Street
       Apt 811D                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norman                              OK       73071-2288
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 97 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.199 Karen Reeves
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,910.00
                                                                                                                                                           $__________________
       11816 Soft Rush Ter                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Lakewood Ranch                                   FL        34202-2086
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.200 Karl Kristiansen                                                             Last 4 digits of account number                                          285.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8914 Stickney Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wauwatosa                           WI       53226-2737                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.201 Karl Swank                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        247.09
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7630 Deercreek Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            OH       43085-4749
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 Michael
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Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name      Last Name
                                                                Pg 98 of 221
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.202 Karthikeyan Ramasamy
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           170.00
                                                                                                                                                          $__________________
       18330 N. 79th Ave                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street
       Apt 2173
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Glendale                                        AZ        85308-8365
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.203 Kaustubh Rudrawar                                                           Last 4 digits of account number                                          100.05
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       1436 Jefferson St
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Santa Clara                         CA       95050-4603                        Contingent
      _____________________________________________________________
      City                                             State      ZIP Code           Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.204 Kenny Oyama                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                        560.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3139 W Eastwood Ave
      _____________________________________________________________
      Number           Street
       #G                                                                         As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Chicago                             IL       60625-4441
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify The Plastic Merchant
      
      ✔      No
            Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                 Pg 99 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.205 Kimberly Isaacs
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            170.00
                                                                                                                                                           $__________________
       4695 Watson Dr                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Doylestown                                       PA        18902-1840
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.206 Kristina Wojtowecz                                                           Last 4 digits of account number                                          950.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       35 Gage Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Glenn Falls                         NY       12801-2917                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.207 Kungen Lin                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        1,279.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2410 Grant Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ames                                IA       50010-3972
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 100 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.208 Kyle Hartley
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            601.05
                                                                                                                                                           $__________________
       15308 Cadoz Dr                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Austin                                           TX        78728-3521
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.209 Lance Miller                                                                 Last 4 digits of account number                                          300.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1701 N. Kent St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 1003
       _______________________________________________________________________
       Arlington                           VA       22209-2108                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.210 Leandro Taveras                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        200.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       510 Bogert Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       River Edge                          NJ       07661-2133
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 101 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.211 Leela Senthil Nathan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            404.50
                                                                                                                                                           $__________________
       1707 Boylston Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 209
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Seattle                                          WA        98122-2204
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.212 Leonardo Mocci                                                               Last 4 digits of account number                                          852.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       173 Heligan Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Unit 1
       _______________________________________________________________________
       Livermore                           CA       94551-6420                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.213 Logan Robinson                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        1,408.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2933 E. 13th St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX       78702-2419
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 102 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.214 Magesh Govindan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            948.00
                                                                                                                                                           $__________________
       2220 W Mission Ln                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 2063
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Phoenix                                          AZ        85021-2895
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.215 Mario Bianucci                                                               Last 4 digits of account number                                          200.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1430 Summit Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 309
       _______________________________________________________________________
       Seattle                             WA       98122-3555                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.216 Mark Montalette                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        360.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2200 Dickson Dr
       _____________________________________________________________
       Number           Street
       Apt 119                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 103 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.217 Mark Schilling
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            120.00
                                                                                                                                                           $__________________
       209 Woodview Ln                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Woostock                                         GA        30188-6074
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.218 Mark Schneider                                                               Last 4 digits of account number                                          634.70
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2224 County Road 541
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gardener                            CO       81040-9730                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.219 Marty Garcia                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        237.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       392 State St.
       _____________________________________________________________
       Number           Street
       Apt 101                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Haven                         CT       06473-3121
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.220 Mary Ann Mastri
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            89,994.42
                                                                                                                                                           $__________________
       2400 Yorktown St                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt. 60
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Houston                                          TX        77056-4534
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.221 Maryna Danielian                                                             Last 4 digits of account number                                          264.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1 Curley Mesquite Cv
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sunset Valley                       TX       78745-2561                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.222 Mats Karlsson                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        9,671.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4381 E Killarney St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gilbert                             AZ       85298-4149
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.223 Matthew Ender
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            318.50
                                                                                                                                                           $__________________
       1600 Beacon St.                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 412
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brookline                                        MA        02446-2224
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.224 Matthew Garcia                                                               Last 4 digits of account number                                          380.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8745 Greenwood Ave N
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 403
       _______________________________________________________________________
       Seattle                             WA       98103-3651                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.225 Matthew Gessford                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        562.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6009 Whiffletree Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Midland                             MI       48642-0002
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 106 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.226 Matthew Willman
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            474.00
                                                                                                                                                           $__________________
       300 S. Kendall Ave                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Independence                                     MO        64056-1733
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.227 Max Bareiss                                                                  Last 4 digits of account number                                          5,190.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       103 Ridge Ct. S.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hendersonville                      TN       37075-3721                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.228 Mei Li                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        340.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       512 W Sycamore Cir
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Louisville                          CO       80027-2260
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.229 Melanie Siebeneck
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            257.65
                                                                                                                                                           $__________________
       711 Colt Dr                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Findlay                                          OH        45840-6478
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.230 Michael Belisle                                                              Last 4 digits of account number                                          263.05
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2547 Anacapa Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 107
       _______________________________________________________________________
       Costa Mesa                          CA       92626-6824                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.231 Michael Cheng                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        3,015.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       11011 NE 12th St
       _____________________________________________________________
       Number           Street
       Unit 502                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bellevue                            WA       98004-4556
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.232 Michael Doyle
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            474.00
                                                                                                                                                           $__________________
       193 27th St                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Francisco                                    CA        94110-4364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.233 Michael Hamilton                                                             Last 4 digits of account number                                          2,109.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       111 Mildred Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Richmond                            KY       40475-1322                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.234 Michael Isoe                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        594.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2922 W Trade Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Miami                               FL       33133-3764
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.235 Michael Ladin
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            170.00
                                                                                                                                                           $__________________
       620 Main St. N                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 119
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stillwater                                       MN        55082-4094
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.236 Michael Linowski                                                             Last 4 digits of account number                                          474.30
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       75 Dogwood Lakes Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       302282876                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.237 Michael Pranivong                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        1,295.45
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4225 Shores Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Worth                          TX       76137-3878
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.238 Michael Prodanovich
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            163.50
                                                                                                                                                           $__________________
       873 Via Campobello                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Santa Barbara                                    CA        93111-1225
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.239 Michelle Shen                                                                Last 4 digits of account number                                          779.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1545 Eddy St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 410
       _______________________________________________________________________
       San Francisco                       CA       94115-4172                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.240 Midland Funding LLC                                                          Last 4 digits of account number       4751
       _____________________________________________________________                                                                                        9,852.79
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       PO Box 51319
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Los Angeles                         CA       90051
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Credit Card Debt
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 111 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.241 Mike Skarda
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            258.00
                                                                                                                                                           $__________________
       117 8th St                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Pacific Grove                                    CA        93950-2908
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.242 Mikhall Galbmillion                                                          Last 4 digits of account number                                          600.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       109 S. Broadleigh Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            OH       43209-1903                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.243 Milap Shah                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        617.61
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3476 Woodhaven Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Philadelphia                        PA       19154-1900
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 112 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.244 Minhthu Nguyen
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            475.00
                                                                                                                                                           $__________________
       5102 Hillingworth Ct                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Houston                                          TX        77084-7575
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.245 Moiz Aly Manji                                                               Last 4 digits of account number                                          2,848.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8054 Exchange Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 607
       _______________________________________________________________________
       Austin                              TX       78754-4750                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.246 Murtuza Cutleriwala                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        207.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       422 Tortola Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Jose                            CA       95133-2342
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 113 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.247 Nabeel Kirmani
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            4.35
                                                                                                                                                           $__________________
       4201 Massachusetts Ave NW                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Unit A391
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Washington                                       DC        20016-4701
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.248 Nancy Oliphant                                                               Last 4 digits of account number                                          1,495.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       23303 Sunnyvale Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Valencia                            CA       91354-1469                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.249 Natalia Cruz                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        600.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3440 Queensbury Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Clarksville                         TN       37042-8135
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.250 Nathan Escott
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            200.00
                                                                                                                                                           $__________________
       72 Walnut Dr W                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Bernville                                        PA        19506-9523
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.251 Nethan Roitman                                                               Last 4 digits of account number                                          980.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       318 Rindge Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Unit 202
       _______________________________________________________________________
       Cambridge                           MA       02140-3149                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.252 Nicholas Abel                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        121.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6369 Meadowview Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Whitestown                          IN       46075-4449
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 115 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.253 Nick Martin
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            360.00
                                                                                                                                                           $__________________
       201 Dey St                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 161
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Harrison                                         NJ        07029-1867
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.254 Nick Vladislavic                                                             Last 4 digits of account number                                          243.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       226 F St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Redwood City                        CA       94063-1040                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.255 Nikolas Larsen                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        2,849.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3835 Forest Trail Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Findlay                             OH       45840-8204
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 116 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.256 Nirav Desai
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,285.50
                                                                                                                                                           $__________________
       13305 Kinder Pass                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Austin                                           TX        78727-3415
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.257 Nissei Agus                                                                  Last 4 digits of account number                                          2,666.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3766 W 176th St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Torrance                            CA       90504-3348                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.258 Nithya Loganathan                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        2,663.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4355 Grimmer Blvd
       _____________________________________________________________
       Number           Street
       Apt H171                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fremont                             CA       94538-6606
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 117 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.259 Oliver Carlson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            437.00
                                                                                                                                                           $__________________
       2739 Stuart St                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Berkeley                                         CA        94705-1302
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.260 Paul Chouy                                                                   Last 4 digits of account number                                          3,040.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3101 N. J. St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 42
       _______________________________________________________________________
       Mcallen                             TX       78501                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.261 Paul Welden                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        249.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       932 E. Leeward Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tempe                               AZ       85283-1940
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 118 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.262 Phil Evans
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,391.50
                                                                                                                                                           $__________________
       902 Morningside Dr                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Knoxville                                        TN        37915-2714
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.263 Phuc Nguyen                                                                  Last 4 digits of account number                                          218.55
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2750 W. Madison Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Anaheim                             CA       92801-4997                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.264 Pooja Bhatia                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        170.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       129 Banwell Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mount Laurel                        NJ       08054-3341
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 119 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.265 Prabakaran Rajendran
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,555.00
                                                                                                                                                           $__________________
       2318 Harpoon Ct                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Henrico                                          VA        23294-4903
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.266 Praveen Veluswamy                                                            Last 4 digits of account number                                          240.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       18660 N. Cave Creek Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 132
       _______________________________________________________________________
       Phoenix                             AZ       85024-4606                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.267 Prevention First LLC                                                         Last 4 digits of account number       5PRF
       _____________________________________________________________                                                                                        136.72
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       763 S New Ballas Rd, Ste 350
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Louis                         MO       63141
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Medical Services
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 120 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.268 Progress West Hospital                                                                                             8042
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            200.00
                                                                                                                                                           $__________________
       2 Progress Point Parkway                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       O'Fallon                                         MO        63368
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.269 Psych Care Consultants LLC                                                   Last 4 digits of account number       6233                               425.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5000 Cedar Plaza Pkw #350
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Louis                         MO       63128                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.270 Qiao Lin                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        3,254.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       560 Riverside Dr
       _____________________________________________________________
       Number           Street
       Apt 19L                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New York                            NY       10027-3238
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.271 Rachel Le
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            455.50
                                                                                                                                                           $__________________
       10407 Carolyndale Dr                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Richmond                                         TX        77407-7931
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.272 Rajesh Reddy                                                                 Last 4 digits of account number                                          3,820.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       95 Milland Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mill Valley                         CA       94941-4910                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.273 Rambaby Tanguturu                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        172.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1480 US Highway 46
       _____________________________________________________________
       Number           Street
       Apt 343B                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Parsippany                          NJ       07054-5905
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.274 Rani Hod
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            195.00
                                                                                                                                                           $__________________
       172 Mason Ter                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brookline                                        MA        02446-2772
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.275 Ravi Davuluri                                                                Last 4 digits of account number                                          86.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1000 E 46th St.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX       78751-4126                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.276 Rayne Knudson                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        1,560.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       811 Debut Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Jose                            CA       95134-2619
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.277 Rebecca Peters
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            361.50
                                                                                                                                                           $__________________
       3721 Faulkner Dr                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 202
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Lincoln                                          NE        68516-4764
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.278 Rebecca Scheer                                                               Last 4 digits of account number                                          1,075.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9405 Charter Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Indianapolis                        IN       46250-3443                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.279 Rene Sequeria                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        1,817.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1205 La Mesa Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Richardson                          TX       75080-3732
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name      Last Name
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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.280 Renju Nair
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           325.00
                                                                                                                                                          $__________________
       4952 W Marcus Dr                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Phoenix                                         AZ        85083-5423
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.281 Richard Kho                                                                 Last 4 digits of account number                                          318.50
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       2555 31st Ave
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      San Francisco                                CA                                Contingent
      _____________________________________________________________
      City                                             State      ZIP Code           Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.282 Richmond Wu                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                        619.50
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1706 NE 24th St
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Renton                              WA       98056-2263
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify The Plastic Merchant
      
      ✔      No
            Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.283 Rita May Dumaguing
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,743.05
                                                                                                                                                           $__________________
       220 Greenwood Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Booklyn                                          NY        11218-1028
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.284 Ritesh Gaba                                                                  Last 4 digits of account number                                          404.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       60 Descanso Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Unit 3119
       _______________________________________________________________________
       San Jose                            CA       95134-1824                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.285 Robert Duke                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        2,375.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3215 Cambridge Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charlotte                           NC       28209-1201
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.286 Robert Mun
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            3,820.00
                                                                                                                                                           $__________________
       770 S. Grand Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 6035
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Los Angeles                                      CA        90017-3954
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.287 Robert Stephenson                                                            Last 4 digits of account number                                          120.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3240 Kinross Cir
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Oak Hill                            VA       20171-3320                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.288 Rodrigo Lopez                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        4,479.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       8323 229th Dr. NE
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Redmond                             WA       98053-1963
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 127 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.289 Rohit Kedia
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            340.00
                                                                                                                                                           $__________________
       4429 Falling Acorn Cir                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Lake Mary                                        FL        32746-4756
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.290 Rohit Rajiv Sane                                                             Last 4 digits of account number                                          1,080.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1160 W Taylor St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 2R
       _______________________________________________________________________
       Chicago                             IL       60607-4213                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.291 Ronald Harvey                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        950.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       114 Stargate Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Madison                             AL       35758-3020
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 128 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.292 Ruslan Kras
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,720.00
                                                                                                                                                           $__________________
       3102 Sitio Isadora                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Carlsbad                                         CA        92009-7123
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.293 Russell Horan                                                                Last 4 digits of account number                                          1,105.55
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1116B 21st Ave S
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Seattle                             WA       98144-2928                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.294 Ryan Flanigan                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        120.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       8241 Peaceful Canyon Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Las Vegas                           NV       89128-7924
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 129 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.295 Ryan Fox
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            381.00
                                                                                                                                                           $__________________
       6922 Crockett Ridge Dr                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Richmond                                         TX        77406-5253
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.296 Ryan North                                                                   Last 4 digits of account number                                          237.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       474 Warren St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 604
       _______________________________________________________________________
       Jersey City                         NJ       07302-7076                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.297 Ryan Smith                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        1,039.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       13562 San Georgio Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Estero                              FL       33928-6465
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 130 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.298 Ryo Takano
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,348.00
                                                                                                                                                           $__________________
       127 Greyrock Plz                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt PL3
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stamford                                         CT        06901-3106
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.299 Samir Chapra                                                                 Last 4 digits of account number                                          200.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       955 Lawrence Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lawrenceville                       NJ       08648-3898                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.300 Sam Tallam                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        1,432.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       135 Fallen Leaf Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Aplharetta                          GA       30005-6795
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 131 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.301 Scott Gruber
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            791.00
                                                                                                                                                           $__________________
       1065 Crown Pointe Circle                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Suamico                                          WI        54173-8077
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.302 Scott Rowe                                                                   Last 4 digits of account number                                          160.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       820 Casanova Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 28
       _______________________________________________________________________
       Monterey                            CA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.303 Scott Stephan                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        950.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1870 Larkspur Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Golden                              CO       80401-9114
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.304 Sean Blair
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            124.50
                                                                                                                                                           $__________________
       1660 21st Rd N                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 10
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Arlington                                        VA        22209-1159
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.305 Senjaya Harianto                                                             Last 4 digits of account number                                          840.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       803 Harrell Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Woodbridge                          NJ       07095-3240                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.306 Shao Liu Epstein                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        347.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       11124 Sceptre Ridge Ter
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Germantown                          MD       20876-6342
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.307 Sharon Brady
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,868.50
                                                                                                                                                           $__________________
       21076 Sydenham Rd                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Shaker Heights                                   OH        44122-2930
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.308 Shawn Coomer                                                                 Last 4 digits of account number                                          820.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5237 Pack Creek Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Las Vegas                     NV       89031-3425                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.309 Shih Chiang Teng                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        319.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4422 E. Ashurst Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phoenix                             AZ       85048-0128
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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               Case         Christopher Dean
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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.310 Shih Wang
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,462.00
                                                                                                                                                           $__________________
       7420 Newcastle Gulf Club Rd                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Unit G
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Newcastle                                        WA        98059-9144
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.311 Shimei Zhang                                                                 Last 4 digits of account number                                          1,168.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8703 Hovey St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rosemead                            CA       91770-1343                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.312 Sivaprasad Mokkapati                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                        2,070.10
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3907 Hidden Grove Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Conceord                            CA       94519-1161
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.313 Spectrum                                                                                                           3271
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            200.94
                                                                                                                                                           $__________________
       1600 Dublin Rd                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Columbus                                         OH        43215
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Telephone / Internet services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.314 Spencer Ferrero                                                              Last 4 digits of account number                                          120.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1635 Brockton Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 3
       _______________________________________________________________________
       Los Angeles                         CA       90025-3737                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.315 Srikanth Mutyala                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        738.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4445 Alvin Dark Ave
       _____________________________________________________________
       Number           Street
       Apt 108                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Baton Rouge                         LA       70820-3053
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.316 Srinivas Guttala
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,304.50
                                                                                                                                                           $__________________
       22623 Shining Harness St                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Clarksburg                                       MD        20871-5324
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.317 Srinivasu Seelam                                                             Last 4 digits of account number                                          2,184.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2709 Trappers Cove Trail
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 1B
       _______________________________________________________________________
       Lansing                             MI       48910-5781                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.318 Srinivas Vajhala                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        43.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7317 Joshua Tree Trail
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McKinney                            TX       75070-4423
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.319 SSM Health St. Joseph Hostpital - St. Charles                                                                      1683
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            3,206.40
                                                                                                                                                           $__________________
       PO Box 776236                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Chicago                                          IL        60677
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.320 St. Charles County Circuit Court                                             Last 4 digits of account number                                          275.19
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       300 N. 2nd Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Charles                       MO       63301                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Municipal Fine
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.321 Stephen Ennis                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        45.75
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       102 Woodstock Ln
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greer                               SC       29650-3918
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.322 Stephen Pascarella
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            818.55
                                                                                                                                                           $__________________
       5202 W 121st St                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Overland Park                                    KS        66209-3500
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.323 Stephen Pepper                                                               Last 4 digits of account number                                          200.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       411 Walnut St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       #13210
       _______________________________________________________________________
       Green Cove Springs                  FL       32043-3443                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.324 Stephen Thompson                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        80.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       130 S. Front St
       _____________________________________________________________
       Number           Street
       Apt 305                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Memphis                             TN       38103-3635
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.325 Steven Holland
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            127.50
                                                                                                                                                           $__________________
       3942 45th Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sunnyside                                        NY        11104-2104
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.326 Steven Lee                                                                   Last 4 digits of account number                                          78.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1490 Dorner Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monterey Park                       CA       91754-6030                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.327 Steven Matthews                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        42.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       15450 Sandfield Loop
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winter Garden                       FL       34787-9809
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.328 St. Louis Childrens Hospital
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            421.68
                                                                                                                                                           $__________________
       1 Childrens Place                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Saint Louis                                      MO        63110
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
             Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
      
      ✔       Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.329 St. Louis Women's Surgery Center                                             Last 4 digits of account number       3783                               540.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       864 Woods Mill Rd.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ballwin                             MO       63011                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
             Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
      
      ✔       Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.330 Sumit Talwar                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        1,308.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       14 Glenview Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warren                              NJ       07059-5484
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.331 Sundeep Meda
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,129.00
                                                                                                                                                           $__________________
       3622 215th Pl SE                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Bothell                                          WA        98021-7085
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.332 Sunil Saripalli                                                              Last 4 digits of account number                                          1,161.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       297 Turnpike Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 811
       _______________________________________________________________________
       Westborough                         MA       01581-2825                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.333 Sunit Pandya                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        118.50
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       663 N Sangamon St
       _____________________________________________________________
       Number           Street
       Apt 5S                                                                      As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chicago                             IL       60642-6078
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name      Last Name
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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.334 Susan Osuilleabhain
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           120.00
                                                                                                                                                          $__________________
       5856 Bedrock Dr                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Plano                                           TX        75093-4660
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.335 Sylvia Moran                                                                Last 4 digits of account number                                          210.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       10325 Linfield Pl
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Las Vegas                           NV       89134-5140                        Contingent
      _____________________________________________________________
      City                                             State      ZIP Code           Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.336 Tan Pham                                                                    Last 4 digits of account number
      _____________________________________________________________                                                                                        1,680.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4 Sherbrook Ave
      _____________________________________________________________
      Number           Street
       Fl 2                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Worcester                           MA       01604-1123
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify The Plastic Merchant
      
      ✔      No
            Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.337 Tan Tran
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,134.00
                                                                                                                                                           $__________________
       117Julia Martin Dr                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt E
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Bozeman                                          MT        59715-4960
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.338 Taylor Eiford                                                                Last 4 digits of account number                                          390.55
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       60 E 8th Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 454
       _______________________________________________________________________
       Columbus                            OH       43201-3864                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.339 Terrence Donohue                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        170.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2 Park Pl
       _____________________________________________________________
       Number           Street
       Apt 21C                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hartford                            CT       06106-5017
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.340 Terry Mock
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            560.00
                                                                                                                                                           $__________________
       400 Mar Vista Dr                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 6
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Monterey                                         CA        93940-4359
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.341 Thirulogachandar Medampalli                                                  Last 4 digits of account number                                          3,280.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10821 Northoak Sq
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cupertino                           CA       95014-0521                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.342 Thomas Carnevale                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        608.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       69 Smith Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          RI       02828-1721
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.343 Timothy Janssen
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            930.50
                                                                                                                                                           $__________________
       2483 Packard St                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt N
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Ann Arbor                                        MI        48104-6386
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.344 Tim Rutherford                                                               Last 4 digits of account number                                          1,007.90
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9567 Deerhorn Ct
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 17
       _______________________________________________________________________
       Parker                              CO       80134-3104                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.345 Toa Yang                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        1,380.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       137 White Spruce Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Coppell                             TX       75019-7972
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.346 Tommy Yu
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            250.00
                                                                                                                                                           $__________________
       1776 S Norfolk St                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Mateo                                        CA        94403-1153
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.347 Trang Nguyen                                                                 Last 4 digits of account number                                          449.10
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14918 Sandalfoot St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77095-2819                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.348 Troy Thornburg                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        120.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5707 Parkstone Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charlotte                           NC       28104-0564
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.349 Tyler Lovellette
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            474.00
                                                                                                                                                           $__________________
       511 Druid Ln                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Chattanooga                                      TN        37405-4039
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.350 Tyson Scheidecker                                                            Last 4 digits of account number                                          160.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5005 Aspen Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Des Moines                     IA       50265-2724                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.351 Umair Khalid                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        1,401.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1633 Trailview Way NE
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brookhaven                          GA       30329-1537
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.352 Usama Makda
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            170.00
                                                                                                                                                           $__________________
       9221 Linder Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Skokie                                           IL        60077-1134
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.353 Vadim Ratner                                                                 Last 4 digits of account number                                          5,424.54
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       810 Gordon Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Belmont                             CA       94002-2312                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.354 Vagmita Pabuwal                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        176.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       12716 SE 74th St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newcastle                           WA       98056-1312
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.355 Vanessa Velez
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            277.00
                                                                                                                                                           $__________________
       1192 Mitchell Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 118
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Tustin                                           CA        92780-5643
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.356 Verizon Wireless                                                             Last 4 digits of account number       0001                               238.09
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       500 Technology Drive, Suite 550
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Charles                       MO       63304                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
             Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
      
      ✔       Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Telephone / Internet services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.357 Vincent Tong                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        1,900.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       14221 Lutheria Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saratoga                            CA       95070-5979
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 150 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.358 Vivek Ravi
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            395.00
                                                                                                                                                           $__________________
       2121 Tannehill Dr                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 2031
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Houston                                          TX        77008-3136
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.359 Vyacheslav Kraplin                                                           Last 4 digits of account number                                          994.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       147 Turner Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Unit 108
       _______________________________________________________________________
       Holliston                           MA       017646-1280                       Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.360 Walter C Geckeler                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        100.05
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3018 College Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Berkley                             CA       94705-2506
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 151 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.361 Wangdong Chen
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            182.05
                                                                                                                                                           $__________________
       5523 Playa Del Rey                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Jose                                         CA        95123-1330
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.362 Washington University Physicians                                             Last 4 digits of account number       6007                               195.49
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 505462
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saint Louis                         MO       63150                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
             Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
      
      ✔       Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.363 Wei-Chen Cheng                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        1,541.05
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5951 Gentle Call
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Clarksville                         MD       21209-1233
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 152 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.364 Wei Wang
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,565.00
                                                                                                                                                           $__________________
       23 Puchala Dr                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Parlin                                           NJ        08859-3141
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.365 William Card                                                                 Last 4 digits of account number                                          1,432.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1543 Jeffries Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Midlothian                          VA       23114-4324                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.366 William Chen                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        817.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       135 E 54th St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New York                            NY       10022-4539
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.367 William Curley
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            120.00
                                                                                                                                                           $__________________
       6662 Blackwood St                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Riverside                                        CA        92506-6247
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.368 William Dewitt                                                               Last 4 digits of account number                                          477.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       230 Terra Vista St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brighton                            CO       80601-4170                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.369 William Harrop                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        100.05
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3834 Red Hill Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charlottesville                     VA       22903-7917
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                  Michael
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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.370 Women's Care Consultants                                                                                           3817
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            48.24
                                                                                                                                                           $__________________
       3023 N Ballas, Ste 120D                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Saint Louis                                      MO        63131
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
             Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
      
      ✔       Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.371 Xiaotian Austin                                                              Last 4 digits of account number                                          120.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3505 Matthew Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bloomington                         IL       61704-8654                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.372 Xiaoyang Olson                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        369.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       9331 16th Dr W
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Everett                             WA       98204-2147
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.373 Xiaoyi Yu
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            2,837.00
                                                                                                                                                           $__________________
       109 Mountain Violet                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Irvine                                           CA        92620-3103
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.374 Xuan Wang                                                                    Last 4 digits of account number                                          425.05
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5646 N. Willard Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt E
       _______________________________________________________________________
       San Gabriel                         CA       91776-1634                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.375 Yihao Wong                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        320.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       3450 N. Ridgewood St
       _____________________________________________________________
       Number           Street
       Apt 403                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wichita                             KS       67220-4429
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.376 Yi Xia
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            650.05
                                                                                                                                                           $__________________
       607 N. Cayuga St                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 1R
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Ithaca                                           NY        14850-3675
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.377 Yoa Li                                                                       Last 4 digits of account number                                          659.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4008 Sloanwood Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Murrysville                         PA       15668-1042                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.378 Youngjae Byun                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        830.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       432 Golden Meadows Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sunwanee                            GA       30024-2268
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 First Name      Middle Name      Last Name
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.379 Yuqing Peterson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            525.25
                                                                                                                                                           $__________________
       180 Sylvian Way                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Los Altos                                        CA        94022-2254
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.380 Yu-Sheng Lo                                                                  Last 4 digits of account number                                          217.50
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3500 Greystone Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 251
       _______________________________________________________________________
       Austin                              TX       78731-2306                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.381 Zachary Finkelstein                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        240.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       425 Eashington Blvd.
       _____________________________________________________________
       Number           Street
       Apt 2204                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jersey City                         NJ       07310-2051
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                  Michael
               Case         Christopher Dean
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 Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                 First Name      Middle Name      Last Name
                                                                Pg 158 of 221
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.382 Zachary Koontz
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            136.50
                                                                                                                                                           $__________________
       325 Bent Creek Dr                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Garland                                          TX        75040-1137
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.383 Zack Arnson-Serotta                                                          Last 4 digits of account number                                          270.55
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8715 1st Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 127C
       _______________________________________________________________________
       Silver Spring                       MD       20910-3529                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.384 Zhiheng Xu                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        357.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       69 Dixon Dr
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tonawanda                           NY       14223-1834
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify The Plastic Merchant
      
      ✔       No
             Yes


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                 Michael
              Case         Christopher Dean
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Debtor 1        _______________________________________________________      Case number (if known)_____________________________________
                First Name      Middle Name      Last Name
                                                               Pg 159 of 221
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.385 Zhi Zheng
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           237.00
                                                                                                                                                          $__________________
       2000 Lakeshore Dr                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street
       #6095
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       New Orleans                                     LA        70122-3549
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify The Plastic Merchant
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                  Last 4 digits of account number                                         $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
                                                                                     Contingent
      _____________________________________________________________
      City                                             State      ZIP Code           Unliquidated
      Who incurred the debt? Check one.                                              Disputed
            Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Other. Specify
      Is the claim subject to offset?
            No
            Yes

                                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                       $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________

      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

            Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                Other. Specify
            No
            Yes


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               Michael
            Case         Christopher Dean
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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
                                                             Pg 160 of 221
Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      ARSI                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      555 St. Charles Drive, Suite 100                                      4.25 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number
      Thousand Oaks                        CA    91360
     _____________________________________________________
     City                                  State        ZIP Code

      Abbott Osborn Van Vliet PLC                                       On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      974 73rd Street                                                         4.240of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 20
     _____________________________________________________
                                                                        Claims

      West Des Moines                 IA         50265
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Alltran Financial, LP                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 722929                                                          4.80 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Houston                          TX         77272
     _____________________________________________________              Last 4 digits of account number       9816
     City                                  State        ZIP Code

      Alltran Financial, LP                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 722929                                                           4.84 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                         TX         77272
     _____________________________________________________              Last 4 digits of account number       5776
     City                                  State        ZIP Code

      Alltran Financial, LP
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 722929                                                           4.79 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                              TX    77272
     _____________________________________________________              Last 4 digits of account number       0079
     City                                  State        ZIP Code

      Alltran Financial, LP
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 722929
     _____________________________________________________
                                                                              4.85 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                         TX         77272
     _____________________________________________________              Last 4 digits of account number       1651
     City                                  State        ZIP Code

      Alltran Financial, LP
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 722929                                                           4.25 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Houston                         TX         77272
     _____________________________________________________
                                                                        Last 4 digits of account number       8888
     City                                  State        ZIP Code



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               Michael
            Case         Christopher Dean
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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
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Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Alltran Financial, LP                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 722929                                                         4.77 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number
      Houston                              TX    77272
     _____________________________________________________
     City                                  State        ZIP Code

      Alltran Financial, LP                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 722929                                                           4.81 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                         TX         77272
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Alltran Financial, LP                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 722929                                                          4.83 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Houston                          TX         77272
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Alltran Financial, LP                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 722929                                                           4.78 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                         TX         77272
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Alltran Financial, LP
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 722929                                                           4.101of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                              TX    77272
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Blitt & Gaines, PC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      707 N. 2nd Street, Suite 306
     _____________________________________________________
                                                                              4.63 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Saint Louis                     MO         63102
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Capital Management Services, LP
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 120                                                              4.101of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Buffalo                         NY         14206
     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number


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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
                                                             Pg 162 of 221
Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Capital Management Services, LP                                  On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 120                                                            4.41 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number
      Buffalo                              NY    14220
     _____________________________________________________
     City                                  State        ZIP Code

      Citibank, N.A.                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 790040                                                           4.121of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      St. Louis                       MO         63179
     _____________________________________________________              Last 4 digits of account number       6765
     City                                  State        ZIP Code

      Consumer Collection Management                                    On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 1839                                                            4.362of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Maryland Heights                 MO         63043
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Fifth Third Bank                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      1830 East Paris SE                                                      4.240of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
      MDRSCB3E-RV
     _____________________________________________________
                                                                        Claims

      Grand Rapids                    MI         49546
     _____________________________________________________              Last 4 digits of account number       2354
     City                                  State        ZIP Code

      Financial Recovery Services, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 385908                                                           4.41 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Minneapolis                          MN    55438
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Financial Recovery Services, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 385908
     _____________________________________________________
                                                                              4.67 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Minneapolis                     MN         55438
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Firstsource Advantage, LLC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      205 Bryant Woods South                                                  4.21 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Amherst                         NY         14228
     _____________________________________________________
                                                                        Last 4 digits of account number       7048
     City                                  State        ZIP Code



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               Michael
            Case         Christopher Dean
                      19-46230           Doc 1 Filed 10/03/19 Entered 10/03/19     17:32:42             Main Document
Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
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Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Frontline Asset Strategies                                       On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      2700 Snelling Ave N.                                                  4.67 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims
      Ste 250
     _____________________________________________________
                                                                       Last 4 digits of account number
      Saint Paul                           MN    55113
     _____________________________________________________
     City                                  State        ZIP Code

      GC Services Limited Partnership                                   On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      6330 Gulfton                                                            4.101of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Houston                         TX         77081
     _____________________________________________________              Last 4 digits of account number       6737
     City                                  State        ZIP Code

      Glass Mountain Capital LLC                                        On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      1930 Thoreau Drive                                                     4.68 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
      Ste. 100
     _____________________________________________________
                                                                        Claims

     Schaumburg                       IL         60173
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Global Credit & Collection Corp                                   On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      4839 N. Elston Ave.                                                     4.121of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Chicago                         IL         60630
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Hood & Stacy, P.A.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 271                                                              4.24 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Bentonville                          AR    72712
     _____________________________________________________              Last 4 digits of account number       3148
     City                                  State        ZIP Code

      Hood & Stacy, P.A.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 271
     _____________________________________________________
                                                                              4.23 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Bentonville                     AR         72712
     _____________________________________________________              Last 4 digits of account number       3147
     City                                  State        ZIP Code

      IC System
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 64437                                                            4.356of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      St. Paul                        MN         55164
     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number


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               Michael
            Case         Christopher Dean
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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
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Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      James Nathan Overstreet                                          On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      8711 Highway 6 North                                                  4.220of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims
      Suite 230
     _____________________________________________________
                                                                       Last 4 digits of account number
      Houston                              TX    77095
     _____________________________________________________
     City                                  State        ZIP Code

      Lawson Hamilton & Associates                                      On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      610 N. Glenoaks Blvd Suite 101                                          4.267of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Burbank                         CA         91502
     _____________________________________________________              Last 4 digits of account number       5798
     City                                  State        ZIP Code

      MRS BPO LLC                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      1930 Olney Ave                                                         4.80 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Cherry Hill                      NJ         08003
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      MRS BPO LLC                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      1930 Olney Ave                                                          4.84 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Cherry Hill                     NJ         08003
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      MRS BPO LLC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1930 Olney Ave                                                          4.79 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Cherry Hill                          NJ    08003
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      MRS BPO LLC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1930 Olney Ave
     _____________________________________________________
                                                                              4.85 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Cherry Hill                     NJ         08003
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      MRS BPO LLC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1930 Olney Ave                                                          4.76 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Cherry Hill                     NJ         08003
     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number


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               Michael
            Case         Christopher Dean
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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
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Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      McCarthy, Burgess & Wolff                                        On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      26000 Cannon Road                                                     4.356of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number
      Bedford                              OH    44146
     _____________________________________________________
     City                                  State        ZIP Code

      McNeilePappas LLC                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      14701 East 42nd Street                                                  4.120of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Independence                    MO         64055
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Medicredit, Inc.                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 1629                                                            4.319of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Maryland Heights                 MO         63043
     _____________________________________________________              Last 4 digits of account number       7848
     City                                  State        ZIP Code

      Medicredit, Inc.                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 1629                                                             4.268of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Maryland Heights                MO         63043
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Medicredit, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 1629                                                             4.328of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Maryland Heights                     MO    63043
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Municipal Services Bureau
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 16755
     _____________________________________________________
                                                                              4.320of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Austin                          TX         78761
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Nationwide Credit, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 14581                                                            4.80 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Des Moines                      IA         50306
     _____________________________________________________
                                                                        Last 4 digits of account number       8819
     City                                  State        ZIP Code



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               Michael
            Case         Christopher Dean
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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
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Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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      Nationwide Credit, Inc.                                          On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 14581                                                          4.84 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number       9262
      Des Moines                           IA    50306
     _____________________________________________________
     City                                  State        ZIP Code

      Nationwide Credit, Inc.                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 14581                                                            4.79 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Des Moines                      IA         50306
     _____________________________________________________              Last 4 digits of account number       9437
     City                                  State        ZIP Code

      Nationwide Credit, Inc.                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 14581                                                           4.85 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Des Moines                       IA         50306
     _____________________________________________________              Last 4 digits of account number       1045
     City                                  State        ZIP Code

      Nationwide Credit, Inc.                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 14581                                                            4.21 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Des Moines                      IA         50306
     _____________________________________________________              Last 4 digits of account number       7353
     City                                  State        ZIP Code

      Nationwide Credit, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 14581                                                            4.76 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Des Moines                           IA    50306
     _____________________________________________________              Last 4 digits of account number       1342
     City                                  State        ZIP Code

      One Advantage, LLC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      7650 Magna Drive
     _____________________________________________________
                                                                              4.268of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Belleville                      IL         62223
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Pittenger Law Group, LLC
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      6900 College Blvd, Suite 325                                            4.25 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Overland Park                   KS         66211
     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number


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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name     Middle Name      Last Name
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Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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      Premiere Credit of North America, LLC                            On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 19309
     _____________________________________________________
                                                                       Line _____ of (Check one):     
                                                                                                      ✔ Part 1: Creditors with Priority Unsecured Claims

     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                       Last 4 digits of account number
      Indianapolis                         IN    46219
     _____________________________________________________
     City                                  State        ZIP Code

      Receivables Performance Management LLC                            On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      20818 44th Ave W, Suite 140                                             4.356of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Lynnwood                        WA         98036
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      Unifund CCR, LLC                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      10625 Techwoods Circle                                                 4.121of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Cincinnati                       OH         45242
     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code

      United Collection Bureau, Inc.                                    On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      5620 Southwyck Blvd, Suite 206                                          4.77 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Toledo                          OH         43614
     _____________________________________________________              Last 4 digits of account number       9402
     City                                  State        ZIP Code

      United Collection Bureau, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      5620 Southwyck Blvd, Suite 206                                          4.81 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Toledo                               OH    43614
     _____________________________________________________              Last 4 digits of account number       8006
     City                                  State        ZIP Code

      United Collection Bureau, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      5620 Southwyck Blvd, Suite 206
     _____________________________________________________
                                                                              4.83 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Toledo                          OH         43614
     _____________________________________________________              Last 4 digits of account number       7621
     City                                  State        ZIP Code

      United Collection Bureau, Inc.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      5620 Southwyck Blvd, Suite 206                                          4.78 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                      
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims
      Toledo                          OH         43614
     _____________________________________________________
                                                                        Last 4 digits of account number       2048
     City                                  State        ZIP Code



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               Michael
            Case         Christopher Dean
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Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
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      United Collection Bureau, Inc.                                   On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      5620 Southwyck Blvd, Suite 206                                        4.86 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number       0007
      Toledo                               OH    43614
     _____________________________________________________
     City                                  State        ZIP Code

      United Collection Bureau, Inc.                                    On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      5620 Southwyck Blvd, Suite 206                                          4.82 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

      Toledo                          OH         43614
     _____________________________________________________              Last 4 digits of account number       2533
     City                                  State        ZIP Code

      Zwicker & Associates, P.C.                                        On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      80 Minuteman Rd                                                        4.23 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                        Claims

     Andover                          MA         01810
     _____________________________________________________              Last 4 digits of account number       6227
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________              Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims

     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number


  Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                       140 of ___
                                                                                                                                                               141
               Michael
            Case         Christopher Dean
                      19-46230            Doc 1 Filed 10/03/19 Entered 10/03/19    17:32:42             Main Document
Debtor 1      _______________________________________________________      Case number (if known)_____________________________________
              First Name      Middle Name      Last Name
                                                             Pg 169 of 221
Pa rt 4 :    Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                    2,149.38
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                      2,149.38
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                   834,404.32


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                    834,404.32
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page __
                                                                                                                                           141
                                                                                                                                               of ___
                                                                                                                                                   141
               Case 19-46230              Doc 1             Filed 10/03/19 Entered 10/03/19 17:32:42                        Main Document
                                                                       Pg 170 of 221
 Fill in this information to identify your case:

                       Michael Christopher Dean
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name
                      Meredith Leigh Miller Dean
 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        Eastern District of Missouri District of ________
                                                                                 (State)
 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1                                                                                         Residential Lease - 3464 Charlestowne Crossing Drive
       Louisa Miller
      _____________________________________________________________________
      Name                                                                                  Lessee
       3464 Charlestowne Crossing Dr
      _____________________________________________________________________
      Street
       Saint Charles               MO                 63301
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
               Case 19-46230                     Doc 1              Filed 10/03/19 Entered 10/03/19 17:32:42                      Main Document
                                                                               Pg 171 of 221
 Fill in this information to identify your case:

                     Michael Christopher Dean
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               Meredith Leigh Miller Dean
                        ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Eastern District of Missouri District of ________
                                                                                              (State)
 Case number            ____________________________________________
  (If known)
                                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      ✔    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
3.1
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.2
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.3
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                       1
                                                                                                                                                     page 1 of ___
               Case 19-46230            Doc 1             Filed 10/03/19 Entered 10/03/19 17:32:42                           Main Document
                                                                     Pg 172 of 221
 Fill in this information to identify your case:

                      Michael Christopher Dean
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2
                      Meredith Leigh Miller Dean
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Eastern District of MissouriDistrict
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed                                     ✔
    information about additional          Employment status                                                                Employed
    employers.                                                             Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Assistant Manager - National Accounts
                                                                                                              Secretary
                                          Occupation                     __________________________________ __________________________________
    Occupation may include student
    or homemaker, if it applies.                                           Green Clean Cleaning Services               Orchard Farm R-V School
                                         Employer’s name                __________________________________
                                                                                                                       District
                                                                                                                      __________________________________


                                         Employer’s address                1520 South Fifth Street
                                                                        _______________________________________        3489 Boschertown Road
                                                                                                                    ________________________________________
                                                                         Number Street                               Number    Street
                                                                           Suite 301
                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Saint Charles, MO 63301
                                                                        _______________________________________         Saint Charles, MO 63301
                                                                                                                    ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   1 month                                            ________________________
                                                                                                                       1 month


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.       3,159.65                2,860.00
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +            0.00
                                                                                                                         $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.       3,159.65
                                                                                                  $__________                2,860.00
                                                                                                                         $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
Debtor 1
            Case
              Michael 19-46230
                         Christopher   Doc 1 Filed 10/03/19 Entered 10/03/19
                                        Dean
              _______________________________________________________
                                                                                   17:32:42 Main Document
                                                                           Case number (if known)_____________________________________
              First Name   Middle Name       Last Name       Pg 173 of 221
                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        3,159.65
                                                                                                                          $___________                2,860.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          341.38
                                                                                                                         $____________                  202.20
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                  195.98
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                   26.92
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.          341.38
                                                                                                                         $____________                  425.10
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        2,818.27
                                                                                                                         $____________                2,434.90
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            2,818.27
                                                                                                                         $___________     +           2,434.90
                                                                                                                                                  $_____________    =      5,253.17
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________
                                                                                                                                                                            0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                           5,253.17
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.                 After Debtor reaches the 90 day employment probationary period with Green Clean, he will become
      
      ✔    Yes. Explain:       eligible for health insurance and will begin having approximately $306.00 per month deducted from his
                               wages for premiums for Debtor and his two dependent children.
  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
               Case 19-46230             Doc 1             Filed 10/03/19 Entered 10/03/19 17:32:42                                  Main Document
                                                                      Pg 174 of 221
  Fill in this information to identify your case:

                     Michael Christopher Dean
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
                      Meredith Leigh Miller Dean
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Eastern District of Missouri
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                    expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
               ✔ No
               
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Daughter                                 6             No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes
                                                                                           Daughter
                                                                                          _________________________                 2
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes

                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                              No
   yourself and your dependents?              Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                   400.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      20.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   100.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
               Case 19-46230                    Doc 1      Filed 10/03/19 Entered 10/03/19 17:32:42                       Main Document
                                                                      Pg 175 of 221
                    Michael Christopher Dean
 Debtor 1          _______________________________________________________                      Case number (if known)_____________________________________
                   First Name     Middle Name           Last Name




                                                                                                                           Your expenses

                                                                                                                          $_____________________
                                                                                                                                           0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                     5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                       6a.    $_____________________
                                                                                                                                        170.00
        6b.   Water, sewer, garbage collection                                                                     6b.    $_____________________
                                                                                                                                         25.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                       6c.    $_____________________
                                                                                                                                        230.00
        6d.   Other. Specify: _______________________________________________                                      6d.    $_____________________
                                                                                                                                           0.00
 7. Food and housekeeping supplies                                                                                 7.     $_____________________
                                                                                                                                        800.00
 8. Childcare and children’s education costs                                                                       8.     $_____________________
                                                                                                                                        780.00
 9. Clothing, laundry, and dry cleaning                                                                            9.     $_____________________
                                                                                                                                        250.00
10.    Personal care products and services                                                                         10.    $_____________________
                                                                                                                                        350.00
11.    Medical and dental expenses                                                                                 11.    $_____________________
                                                                                                                                        130.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                          $_____________________
                                                                                                                                        350.00
       Do not include car payments.                                                                                12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.    $_____________________
                                                                                                                                        250.00
14.     Charitable contributions and religious donations                                                           14.    $_____________________
                                                                                                                                         60.00
                                                                                                                                                         1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                        15a.                  88.00
                                                                                                                          $_____________________
        15b. Health insurance                                                                                      15b.   $_____________________
                                                                                                                                           0.00
        15c. Vehicle insurance                                                                                     15c.   $_____________________
                                                                                                                                        110.00
        15d. Other insurance. Specify:_______________________________________                                      15d.   $_____________________
                                                                                                                                           0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  Personal Property Tax
        Specify: ________________________________________________________                                          16.
                                                                                                                                        100.00
                                                                                                                          $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                            17a.   $_____________________
                                                                                                                                           0.00
        17b. Car payments for Vehicle 2                                                                            17b.   $_____________________
                                                                                                                                           0.00
        17c. Other. Specify:_______________________________________________                                        17c.   $_____________________
                                                                                                                                           0.00
        17d. Other. Specify:_______________________________________________                                        17d.                    0.00
                                                                                                                          $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                            18.                    0.00
                                                                                                                          $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                              19.
                                                                                                                                           0.00
                                                                                                                          $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                           20a.   $_____________________
                                                                                                                                           0.00
        20b. Real estate taxes                                                                                     20b.   $_____________________
                                                                                                                                           0.00
        20c. Property, homeowner’s, or renter’s insurance                                                          20c.   $_____________________
                                                                                                                                           0.00
        20d. Maintenance, repair, and upkeep expenses                                                              20d.   $_____________________
                                                                                                                                           0.00
        20e. Homeowner’s association or condominium dues                                                           20e.   $_____________________
                                                                                                                                           0.00


      Official Form 106J                                            Schedule J: Your Expenses                                                   page 2
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                   Michael Christopher Dean
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name           Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 4,213.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 4,213.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,253.17
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,213.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  1,040.17
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      ✔   Yes.      Explain here:   Debtors currently are leasing their home from Meredith Dean's mother on very favorable rent
                                    terms. The Lease expires on March 1, 2020. In the meantime, the Landlord intends to sell
                                    the home. Thus, at some point prior to March 1, 2020, Debtors will have to lease a new home
                                    for significantly more rent.




      Official Form 106J                                          Schedule J: Your Expenses                                                     page 3
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Fill in this information to identify your case:

Debtor 1           Michael Christopher Dean
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2           Meredith  Leigh Miller Dean
                   ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Eastern District of Missouri District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Michael Christopher Dean
          ______________________________________________           _____________________________
                                                                     /s/ Meredith Leigh Miller Dean
         Signature of Debtor 1                                         Signature of Debtor 2


              10/03/2019
         Date _________________                                              10/03/2019
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
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                                                                      Pg 178 of 221
 Fill in this information to identify your case:

 Debtor 1          Michael Christopher Dean
                   __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2             Meredith Leigh Miller Dean
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Eastern
                                          ______________________
                                                 District of Missouri District of ______________
                                                                               (State)
 Case number         ___________________________________________
  (If known)                                                                                                                               Check if this is an
                                                                                                                                             amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
      ✔ Married

       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     ✔     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                           Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                                 lived there

                                                                                         
                                                                                         ✔ Same as Debtor 1                                   
                                                                                                                                              ✔   Same as Debtor 1

                3749 Arpent Street
               __________________________________________         From 10/2016
                                                                       ________             ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       __________
                                                                           07/2018                                                                To      ________
               __________________________________________                                   ___________________________________________

               Saint Charles            MO 63301
               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State ZIP Code


                                                                                          Same as Debtor 1                                      Same as Debtor 1


               __________________________________________         From     ________         ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       ________                                                               To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 1
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Debtor 1        Michael Christopher Dean
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                               
                                                                                                                      ✔   Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              6,419.45                    bonuses, tips           $________________
                                                                                                                                                   22,854.63
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                   Wages, commissions,                               
                                                                                                                      ✔   Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
                                                                                                                                                   10,330.00
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                     Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              45,292.00                                           $________________
                                                                                                                                                   0.00
            (January 1 to December 31, _________)
                                       2017                     
                                                                ✔   Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________
                                                                                    0.00                      _________________________          $________________
                                                                                                                                                   0.00
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________
                                         Interest,                         $________________
                                                   Dividends, cash out of IRA
                                                                            52,050.00                          _________________________         $________________
                                                                                                                                                   0.00
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
             2018                        _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________
                                         Interest                  $________________
                                                                    991.00                                     _________________________         $________________
                                                                                                                                                   0.00
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
             2017
December 31, _________)




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Debtor 1       Michael Christopher Dean
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




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Debtor 1            Michael Christopher Dean
                   _______________________________________________________                             Case number (if known)_____________________________________
                   First Name      Middle Name            Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                         Dates of      Total amount      Amount you still   Reason for this payment
                                                                         payment       paid              owe


            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code



            ____________________________________________               _________      $____________ $____________
            Insider’s Name

            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                        Dates of        Total amount     Amount you still   Reason for this payment
                                                                        payment         paid             owe
                                                                                                                            Include creditor’s name

            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code



                                                                                      $____________ $____________
            ____________________________________________               _________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




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Debtor 1          Michael   Christopher Dean
                  _______________________________________________________                                         Case number (if known)_____________________________________
                  First Name            Middle Name             Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                       Nature of the case                   Court or agency                                 Status of the case
                  Mary Ann Mastri v. Michael Dean                    Breach of Contract; Date filed:
    Case title:                                                      08/20/2018                             Harris County District Court
                                                                                                           ________________________________________           Pending
                                                                                                           Court Name
                                                                                                                                                              On appeal
                                                                                                           PO Box 1525
                                                                                                           ________________________________________
                                                                                                           Number    Street                                
                                                                                                                                                           ✔   Concluded

                                                                                                            Houston           TX     77251
                                                                                                           ________________________________________
                                                                                                           City                   State   ZIP Code
    Case number 1115864
                ________________________
                   American Express National Bank v. Breach of contract/suit on account;
                   Michael Dean                      Date filed: 05/17/2019               St. Charles County Circuit Court
                                                                                         ________________________________________
                                                                                                           Court Name
                                                                                                                                                              Pending
    Case title:
                                                                                                                                                              On appeal
                                                                                                           300 N. 2nd St.
                                                                                                           ________________________________________
                                                                                                           Number    Street                                
                                                                                                                                                           ✔   Concluded

                                                                                                            Saint Charles     MO     63301
                                                                                                           ________________________________________
                          1911-AC03475                                                                     City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                 Describe the property                                     Date          Value of the property



                   _________________________________________                                                                               __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                            Explain what happened

                                                                                     Property was repossessed.
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                     Property was garnished.
                   _________________________________________
                   City                                State   ZIP Code              Property was attached, seized, or levied.

                                                                                 Describe the property                                     Date           Value of the property



                                                                                                                                          __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                 Explain what happened

                   _________________________________________                         Property was repossessed.
                                                                                     Property was foreclosed.
                   _________________________________________                         Property was garnished.
                   City                                State   ZIP Code
                                                                                     Property was attached, seized, or levied.



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Debtor 1          Michael Christopher Dean
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1            Michael Christopher Dean
                    _______________________________________________________                                      Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                    Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                    contributed



           _____________________________________                                                                                          _________           $_____________
           Charity’s Name


           _____________________________________                                                                                          _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                  Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                                lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.


                                                                                                                                          _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was made
             ___________________________________
             Bryon E. Hale
             Person Who Was Paid

             ___________________________________
             211 N. Third Street
             Number       Street                                                                                                          _________
                                                                                                                                          03/2019             $_____________
                                                                                                                                                                3,800.00

             ___________________________________
                                                                                                                                          _________           $_____________
             ___________________________________
             Saint Charles       MO      63301
             City                       State     ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name               Last Name




                                                                     Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                      transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                      _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                      _________             $_____________
            ____________________________________

            ____________________________________
            City                        State     ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                     Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                      transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                      _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                      _________             $____________

            ____________________________________
            City                        State     ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                     Description and value of property         Describe any property or payments received      Date transfer
                                                                     transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                                _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State     ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                               _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State     ZIP Code

            Person’s relationship to you _____________

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           Michael Christopher Dean
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name     Middle Name               Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of the property transferred                                       Date transfer
                                                                                                                                                            was made


                                                                                                                                                            _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
     
     ✔     Yes. Fill in the details.

                                                                    Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                         instrument               closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred
            PNC Bank
            ____________________________________
            Name of Financial Institution
                                                                              3 ___
                                                                        XXXX–___ 7 ___
                                                                                    6 ___
                                                                                       5                 
                                                                                                         ✔
                                                                                                           Checking               10/3/2019
                                                                                                                                  _________               249.00
                                                                                                                                                         $___________
            PO Box 489909
            ____________________________________
            Number       Street
                                                                                                          Savings
            ____________________________________                                                          Money market
            Charlotte                  NC
            ____________________________________
                                                 28269                                                    Brokerage
            City                       State     ZIP Code                                                 Other__________

            ____________________________________                        XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                          Savings
            ____________________________________
            Number       Street                                                                           Money market
            ____________________________________                                                          Brokerage
            ____________________________________                                                          Other__________
            City                       State     ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                        Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                                have it?

                                                                                                                                                                   No
            ____________________________________                   _______________________________________
            Name of Financial Institution                          Name
                                                                                                                                                                   Yes

            ____________________________________                   _______________________________________
            Number       Street                                    Number      Street
            ____________________________________
                                                                   _______________________________________
                                                                   City          State      ZIP Code
            ____________________________________
            City                       State     ZIP Code



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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Debtor 1            Michael Christopher Dean
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Michael Christopher Dean
                   _______________________________________________________                                               Case number (if known)_____________________________________
                   First Name      Middle Name               Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                    Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                   _______________________________
            Name of site                                           Governmental unit
                                                                                                                                                                           _________

            ____________________________________                   _______________________________
            Number        Street                                   Number     Street


            ____________________________________                   _______________________________
                                                                   City                  State    ZIP Code
            ____________________________________
            City                        State     ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                     Court or agency                                     Nature of the case
                                                                                                                                                                           case

           Case title
                                                                     ________________________________                                                                         Pending
                                                                     Court Name
                                                                                                                                                                              On appeal
                                                                     ________________________________
                                                                     Number     Street                                                                                        Concluded


           Case number                                               ________________________________
                                                                     City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           
           ✔    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                                Employer Identification number
            The Plastic Merchant
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name                                           Gift card buying and selling

            3464 Charlestowne Crossing Dr
            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                        Dates business existed
            ____________________________________
                                                                     Name of accountant or bookkeeper
            Saint Charles       MO     63301                                                                                            From     _______             To _______
            ____________________________________
            City                        State     ZIP Code

                                                                     Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                        Dates business existed
            ____________________________________
                                                                     Name of accountant or bookkeeper
                                                                                                                                        From     _______                 To _______
            ____________________________________
            City                        State     ZIP Code


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
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Debtor 1           Michael Christopher Dean
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name               Last Name




                                                                     Describe the nature of the business                     Employer Identification number
                                                                                                                             Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                             Dates business existed

            ____________________________________

                                                                     Name of accountant or bookkeeper
            ____________________________________                                                                             From     _______         To _______
            City                        State     ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     ✔     No
          Yes. Fill in the details below.

                                                                     Date issued



            ____________________________________                     ____________
            Name                                                     MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State     ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Michael Christopher Dean
            ______________________________________________                         _____________________________
                                                                                      /s/ Meredith Leigh Miller Dean
            Signature of Debtor 1                                                     Signature of Debtor 2


            Date ________________
                  10/03/2019                                                          Date _________________
                                                                                            10/03/2019
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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               Michael Christopher Dean & Meredith Leigh Miller
                                                         Pg 190 Deanof            221
 Debtor 1                                                                 _                  Case number (if known)
              First Name   Middle Name           Last Name



                                                     Continuation Sheet for Official Form 107
9) Lawsuits

Case Title: American Express National Bank v. Michael Dean

Case Number: 1911-AC03476

Court Name: St. Charles County Circuit Court

Court Address: 300 N. 2nd St., Saint Charles, MO 63301

Case Status: Concluded

Nature of the case: Breach of contract/suit on account; Date filed: 05/17/2019

-------

Case Title: American Express National Bank v. Meredith Dean

Case Number: 1911-CC00152

Court Name: St. Charles County Circuit Court

Court Address: 300 N. 2nd St., Saint Charles, MO 63301

Case Status: Pending

Nature of the case: Breach of contract/suit on account; Date filed: 02/11/2019

-------

Case Title: Discover Bank v. Meredith L. Dean

Case Number: 1911-AC02693-01

Court Name: St. Charles County Circuit Court

Court Address: 300 N. 2nd St., Saint Charles, MO 63301

Case Status: Pending

Nature of the case: Breach of contract/suit on account; Date filed: 04/21/2019

-------

Case Title: Capital One Bank (USA), N.A. v. Meredith Dean

Case Number: 1911-AC02875

Court Name: St. Charles County Circuit Court

Court Address: 300 N. 2nd St., Saint Charles, MO 63301

Case Status: Pending

Nature of the case: Breach of contract/suit on account; Date filed: 04/26/2019

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  Official Form 107                                 Statement of Financial Affairs for Individuals
                Case 19-46230              Doc 1          Filed 10/03/19 Entered 10/03/19 17:32:42                                Main Document
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Fill in this information to identify your case:

                  Michael Christopher Dean
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name
                  Meredith Leigh Miller Dean
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the:Eastern District of Missouri District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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                     Michael Christopher Dean & Meredith Leigh Miller Dean Pg 192 of 221
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Michael Christopher Dean
         ___________________________________________           /s/ Meredith Leigh Miller Dean
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             10/03/2019
     Date _________________
                                                                        10/03/2019
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
              Case 19-46230              Doc 1              Filed 10/03/19 Entered 10/03/19 17:32:42 Main Document
 Fill in this information to identify your case:                       Pg 193 of 221     Check one box only as directed in this form and in
                                                                                                            Form 122A-1Supp:
 Debtor 1           Michael Christopher Dean
                   __________________________________________________________________
                     First Name               Middle Name                  Last Name
                                                                                                            
                                                                                                            ■   1. There is no presumption of abuse.
 Debtor 2           Meredith  Leigh Miller Dean
                    ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                  Last Name                           2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
                                          __________
 United States Bankruptcy Court for the: Eastern District of Missouri
                                                          District of __________                                   Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                               3. The Means Test does not apply now because of
 (If known)                                                                                                        qualified military service but it could apply later.


                                                                                                             Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e

 1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
      
      ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                         $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                   $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                 $_________            $__________

 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
    Gross receipts (before all deductions)                                 $______         $______
      Ordinary and necessary operating expenses                        –   $______     –   $______
                                                                                                     Copy
      Net monthly income from a business, profession, or farm              $______         $______ here     $_________            $__________

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
    Gross receipts (before all deductions)                                 $______         $______
      Ordinary and necessary operating expenses                        –   $______     –   $______
                                                                                                     Copy
      Net monthly income from rental or other real property                $______         $______ here     $_________            $__________
 7. Interest, dividends, and royalties                                                                       $_________            $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
                Case 19-46230                        Doc 1            Filed 10/03/19 Entered 10/03/19 17:32:42                                                 Main Document
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Debtor 1           Michael   Christopher Dean
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                  $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ............................... 
           For you .................................................................................. $______________
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                     $__________                 $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

         ______________________________________                                                                                   $_________                  $___________
         ______________________________________                                                                                   $_________                  $___________
         Total amounts from separate pages, if any.                                                                            + $_________                + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                        $_________
                                                                                                                                                       +      $___________
                                                                                                                                                                                  =   $__________
                                                                                                                                                                                      Total current
                                                                                                                                                                                      monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here        $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.   $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ............................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                  /s/ Michael Christopher Dean
                        __________________________________________________________                                       ______________________________________
                                                                                                                          /s/ Meredith Leigh Miller Dean
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                            10/03/2019
                       Date _________________                                                                                  10/03/2019
                                                                                                                          Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
                 Case 19-46230              Doc 1             Filed 10/03/19 Entered 10/03/19 17:32:42                        Main Document
    Fill in this information to identify your case:                      Pg 195 of 221
    Debtor 1           Michael Christopher Dean
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            Meredith Leigh Miller Dean
                        ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Eastern
                                            ______________________
                                                    District of Missouri District of __________

    Case number         ___________________________________________
    (If known)

                                                                                                            Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    
     ✔ 
       No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  
                  ✔ No. Go to line 3.

                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
     
     ✔      No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
          
          ✔      No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                  box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                  Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
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                                              Pg 196 of 221
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                                                   Barry Blumenthal
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                                                   Benson Sim
                                                   6314 Queens Blvd
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Fl 409
Katy, TX 77450-2437
                                                   Bethany Walsh
                                                   905 Sunrise Ave
                                                   Bellmore, NY 11710-4531
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                                                     Hrvoje Santic
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                                                     Internal Revenue Service
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                                                    Jason Dietrich
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                                                    Jason Rubinstein
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                                                    Jeffrey Goetz
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Chicago, IL 60646-2837

                                                    Jennifer Branson
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                                                    Jeremy Fox
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                                                    11800 SE 68th Pl
                                                    Bellevue, WA 98006-6420
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1707 Logmill Ln
Gaithersburg, MD 20879-3263                         Kimberly Isaacs
                                                    4695 Watson Dr
                                                    Doylestown, PA 18902-1840
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                                                    209 Woodview Ln
                                                    Woostock, GA 30188-6074
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                                                    Gardener, CO 81040-9730

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510 Bogert Rd
River Edge, NJ 07661-2133                           Mary Ann Mastri
                                                    2400 Yorktown St
                                                    Apt. 60
Leela Senthil Nathan                                Houston, TX 77056-4534
1707 Boylston Ave
Apt 209
Seattle, WA 98122-2204                              Maryna Danielian
                                                    1 Curley Mesquite Cv
                                                    Sunset Valley, TX 78745-2561
Leonardo Mocci
173 Heligan Ln
Unit 1                                              Mats Karlsson
Livermore, CA 94551-6420                            4381 E Killarney St
                                                    Gilbert, AZ 85298-4149

Logan Robinson
2933 E. 13th St                                     Matthew Ender
Austin, TX 78702-2419                               1600 Beacon St.
                                                    Apt 412
                                                    Brookline, MA 02446-2224
Louisa Miller
3464 Charlestowne Crossing Dr
Saint Charles, MO 63301                             Matthew Garcia
                                                    8745 Greenwood Ave N
                                                    Apt 403
MRS BPO LLC                                         Seattle, WA 98103-3651
1930 Olney Ave
Cherry Hill, NJ 08003
                                                    Matthew Gessford
                                                    6009 Whiffletree Ln
Magesh Govindan                                     Midland, MI 48642-0002
2220 W Mission Ln
Apt 2063
Phoenix, AZ 85021-2895
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Matthew Willman                                     Michael Ladin
300 S. Kendall Ave                                  620 Main St. N
Independence, MO 64056-1733                         Apt 119
                                                    Stillwater, MN 55082-4094

Max Bareiss
103 Ridge Ct. S.                                    Michael Linowski
Hendersonville, TN 37075-3721                       75 Dogwood Lakes Dr
                                                    Hampton, GA 302282876

McCarthy, Burgess & Wolff
26000 Cannon Road                                   Michael Pranivong
Bedford, OH 44146                                   4225 Shores Ct
                                                    Fort Worth, TX 76137-3878

McNeilePappas LLC
14701 East 42nd Street                              Michael Prodanovich
Independence, MO 64055                              873 Via Campobello
                                                    Santa Barbara, CA 93111-1225

Medicredit, Inc.
PO Box 1629                                         Michelle Shen
Maryland Heights, MO 63043                          1545 Eddy St
                                                    Apt 410
                                                    San Francisco, CA 94115-4172
Mei Li
512 W Sycamore Cir
Louisville, CO 80027-2260                           Midland Funding LLC
                                                    PO Box 51319
                                                    Los Angeles, CA 90051
Melanie Siebeneck
711 Colt Dr
Findlay, OH 45840-6478                              Mike Skarda
                                                    117 8th St
                                                    Pacific Grove, CA 93950-2908
Michael Belisle
2547 Anacapa Dr
Apt 107                                             Mikhall Galbmillion
Costa Mesa, CA 92626-6824                           109 S. Broadleigh Rd
                                                    Columbus, OH 43209-1903

Michael Cheng
11011 NE 12th St                                    Milap Shah
Unit 502                                            3476 Woodhaven Rd
Bellevue, WA 98004-4556                             Philadelphia, PA 19154-1900


Michael Doyle                                       Minhthu Nguyen
193 27th St                                         5102 Hillingworth Ct
San Francisco, CA 94110-4364                        Houston, TX 77084-7575


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111 Mildred Ct                                      PO Box 500
Richmond, KY 40475-1322                             Jefferson City, MO 65106


Michael Isoe                                        Moiz Aly Manji
2922 W Trade Ave                                    8054 Exchange Dr
Miami, FL 33133-3764                                Apt 607
                                                    Austin, TX 78754-4750
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Municipal Services Bureau                            Nirav Desai
PO Box 16755                                         13305 Kinder Pass
Austin, TX 78761                                     Austin, TX 78727-3415


Murtuza Cutleriwala                                  Nissei Agus
422 Tortola Way                                      3766 W 176th St
San Jose, CA 95133-2342                              Torrance, CA 90504-3348


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4201 Massachusetts Ave NW                            4355 Grimmer Blvd
Unit A391                                            Apt H171
Washington, DC 20016-4701                            Fremont, CA 94538-6606


Nancy Oliphant                                       Oliver Carlson
23303 Sunnyvale Ct                                   2739 Stuart St
Valencia, CA 91354-1469                              Berkeley, CA 94705-1302


Natalia Cruz                                         One Advantage, LLC
3440 Queensbury Rd                                   7650 Magna Drive
Clarksville, TN 37042-8135                           Belleville, IL 62223


Nathan Escott                                        Paul Chouy
72 Walnut Dr W                                       3101 N. J. St
Bernville, PA 19506-9523                             Apt 42
                                                     Mcallen, TX 78501

Nationwide Credit, Inc.
PO Box 14581                                         Paul Welden
Des Moines, IA 50306                                 932 E. Leeward Ln
                                                     Tempe, AZ 85283-1940

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318 Rindge Ave                                       Phil Evans
Unit 202                                             902 Morningside Dr
Cambridge, MA 02140-3149                             Knoxville, TN 37915-2714


Nicholas Abel                                        Phuc Nguyen
6369 Meadowview Dr                                   2750 W. Madison Circle
Whitestown, IN 46075-4449                            Anaheim, CA 92801-4997


Nick Martin                                          Pittenger Law Group, LLC
201 Dey St                                           6900 College Blvd, Suite 325
Apt 161                                              Overland Park, KS 66211
Harrison, NJ 07029-1867

                                                     Pooja Bhatia
Nick Vladislavic                                     129 Banwell Ln
226 F St                                             Mount Laurel, NJ 08054-3341
Redwood City, CA 94063-1040

                                                     Prabakaran Rajendran
Nikolas Larsen                                       2318 Harpoon Ct
3835 Forest Trail Dr                                 Henrico, VA 23294-4903
Findlay, OH 45840-8204
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Praveen Veluswamy                                    Rebecca Peters
18660 N. Cave Creek Rd                               3721 Faulkner Dr
Apt 132                                              Apt 202
Phoenix, AZ 85024-4606                               Lincoln, NE 68516-4764


Premiere Credit of North America, LLC                Rebecca Scheer
PO Box 19309                                         9405 Charter Dr
Indianapolis, IN 46219                               Indianapolis, IN 46250-3443


Prevention First LLC                                 Receivables Performance Management LLC
763 S New Ballas Rd, Ste 350                         20818 44th Ave W, Suite 140
Saint Louis, MO 63141                                Lynnwood, WA 98036


Progress West Hospital                               Rene Sequeria
2 Progress Point Parkway                             1205 La Mesa Dr
O'Fallon, MO 63368                                   Richardson, TX 75080-3732


Psych Care Consultants LLC                           Renju Nair
5000 Cedar Plaza Pkw #350                            4952 W Marcus Dr
Saint Louis, MO 63128                                Phoenix, AZ 85083-5423


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560 Riverside Dr                                     2555 31st Ave
Apt 19L                                              San Francisco, CA
New York, NY 10027-3238

                                                     Richmond Wu
Rachel Le                                            1706 NE 24th St
10407 Carolyndale Dr                                 Renton, WA 98056-2263
Richmond, TX 77407-7931

                                                     Rita May Dumaguing
Rajesh Reddy                                         220 Greenwood Ave
95 Milland Dr                                        Booklyn, NY 11218-1028
Mill Valley, CA 94941-4910

                                                     Ritesh Gaba
Rambaby Tanguturu                                    60 Descanso Dr
1480 US Highway 46                                   Unit 3119
Apt 343B                                             San Jose, CA 95134-1824
Parsippany, NJ 07054-5905

                                                     Robert Duke
Rani Hod                                             3215 Cambridge Rd
172 Mason Ter                                        Charlotte, NC 28209-1201
Brookline, MA 02446-2772

                                                     Robert Mun
Ravi Davuluri                                        770 S. Grand Ave
1000 E 46th St.                                      Apt 6035
Austin, TX 78751-4126                                Los Angeles, CA 90017-3954


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811 Debut Ct                                         3240 Kinross Cir
San Jose, CA 95134-2619                              Oak Hill, VA 20171-3320
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Rodrigo Lopez                                         Sam Tallam
8323 229th Dr. NE                                     135 Fallen Leaf Ct
Redmond, WA 98053-1963                                Aplharetta, GA 30005-6795


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4429 Falling Acorn Cir                                955 Lawrence Rd
Lake Mary, FL 32746-4756                              Lawrenceville, NJ 08648-3898


Rohit Rajiv Sane                                      Scott Gruber
1160 W Taylor St                                      1065 Crown Pointe Circle
Apt 2R                                                Suamico, WI 54173-8077
Chicago, IL 60607-4213

                                                      Scott Rowe
Ronald Harvey                                         820 Casanova Ave
114 Stargate Dr                                       Apt 28
Madison, AL 35758-3020                                Monterey, CA


Ruslan Kras                                           Scott Stephan
3102 Sitio Isadora                                    1870 Larkspur Dr
Carlsbad, CA 92009-7123                               Golden, CO 80401-9114


Russell Horan                                         Sean Blair
1116B 21st Ave S                                      1660 21st Rd N
Seattle, WA 98144-2928                                Apt 10
                                                      Arlington, VA 22209-1159

Ryan Flanigan
8241 Peaceful Canyon Dr                               Senjaya Harianto
Las Vegas, NV 89128-7924                              803 Harrell Ave
                                                      Woodbridge, NJ 07095-3240

Ryan Fox
6922 Crockett Ridge Dr                                Shao Liu Epstein
Richmond, TX 77406-5253                               11124 Sceptre Ridge Ter
                                                      Germantown, MD 20876-6342

Ryan North
474 Warren St                                         Sharon Brady
Apt 604                                               21076 Sydenham Rd
Jersey City, NJ 07302-7076                            Shaker Heights, OH 44122-2930


Ryan Smith                                            Shawn Coomer
13562 San Georgio Dr                                  5237 Pack Creek Ct
Estero, FL 33928-6465                                 North Las Vegas, NV 89031-3425


Ryo Takano                                            Shih Chiang Teng
127 Greyrock Plz                                      4422 E. Ashurst Dr
Apt PL3                                               Phoenix, AZ 85048-0128
Stamford, CT 06901-3106

                                                      Shih Wang
SSM Health St. Joseph Hostpital - St. Charles         7420 Newcastle Gulf Club Rd
PO Box 776236                                         Unit G
Chicago, IL 60677                                     Newcastle, WA 98059-9144
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Shimei Zhang                                          Stephen Pascarella
8703 Hovey St                                         5202 W 121st St
Rosemead, CA 91770-1343                               Overland Park, KS 66209-3500


Sivaprasad Mokkapati                                  Stephen Pepper
3907 Hidden Grove Ln                                  411 Walnut St
Conceord, CA 94519-1161                               Green Cove Springs, FL 32043-3443


Spectrum                                              Stephen Thompson
1600 Dublin Rd                                        130 S. Front St
Columbus, OH 43215                                    Apt 305
                                                      Memphis, TN 38103-3635

Spencer Ferrero
1635 Brockton Ave                                     Steven Holland
Apt 3                                                 3942 45th Street
Los Angeles, CA 90025-3737                            Sunnyside, NY 11104-2104


Srikanth Mutyala                                      Steven Lee
4445 Alvin Dark Ave                                   1490 Dorner Dr
Apt 108                                               Monterey Park, CA 91754-6030
Baton Rouge, LA 70820-3053

                                                      Steven Matthews
Srinivas Guttala                                      15450 Sandfield Loop
22623 Shining Harness St                              Winter Garden, FL 34787-9809
Clarksburg, MD 20871-5324

                                                      Sumit Talwar
Srinivas Vajhala                                      14 Glenview Dr
7317 Joshua Tree Trail                                Warren, NJ 07059-5484
McKinney, TX 75070-4423

                                                      Sundeep Meda
Srinivasu Seelam                                      3622 215th Pl SE
2709 Trappers Cove Trail                              Bothell, WA 98021-7085
Apt 1B
Lansing, MI 48910-5781
                                                      Sunil Saripalli
                                                      297 Turnpike Rd
St. Charles County Circuit Court                      Apt 811
300 N. 2nd Street                                     Westborough, MA 01581-2825
Saint Charles, MO 63301

                                                      Sunit Pandya
St. Louis Childrens Hospital                          663 N Sangamon St
1 Childrens Place                                     Apt 5S
Saint Louis, MO 63110                                 Chicago, IL 60642-6078


St. Louis Women's Surgery Center                      Susan Osuilleabhain
864 Woods Mill Rd.                                    5856 Bedrock Dr
Ballwin, MO 63011                                     Plano, TX 75093-4660


Stephen Ennis                                         Sylvia Moran
102 Woodstock Ln                                      10325 Linfield Pl
Greer, SC 29650-3918                                  Las Vegas, NV 89134-5140
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Tan Pham                                            Trang Nguyen
4 Sherbrook Ave                                     14918 Sandalfoot St
Fl 2                                                Houston, TX 77095-2819
Worcester, MA 01604-1123

                                                    Troy Thornburg
Tan Tran                                            5707 Parkstone Dr
117Julia Martin Dr                                  Charlotte, NC 28104-0564
Apt E
Bozeman, MT 59715-4960
                                                    Tyler Lovellette
                                                    511 Druid Ln
Taylor Eiford                                       Chattanooga, TN 37405-4039
60 E 8th Ave
Apt 454
Columbus, OH 43201-3864                             Tyson Scheidecker
                                                    5005 Aspen Dr
                                                    West Des Moines, IA 50265-2724
Terrence Donohue
2 Park Pl
Apt 21C                                             Umair Khalid
Hartford, CT 06106-5017                             1633 Trailview Way NE
                                                    Brookhaven, GA 30329-1537

Terry Mock
400 Mar Vista Dr                                    Unifund CCR, LLC
Apt 6                                               10625 Techwoods Circle
Monterey, CA 93940-4359                             Cincinnati, OH 45242


Thirulogachandar Medampalli                         United Collection Bureau, Inc.
10821 Northoak Sq                                   5620 Southwyck Blvd, Suite 206
Cupertino, CA 95014-0521                            Toledo, OH 43614


Thomas Carnevale                                    Usama Makda
69 Smith Ave                                        9221 Linder Ave
Greenville, RI 02828-1721                           Skokie, IL 60077-1134


Tim Rutherford                                      Vadim Ratner
9567 Deerhorn Ct                                    810 Gordon Ave
Apt 17                                              Belmont, CA 94002-2312
Parker, CO 80134-3104

                                                    Vagmita Pabuwal
Timothy Janssen                                     12716 SE 74th St
2483 Packard St                                     Newcastle, WA 98056-1312
Apt N
Ann Arbor, MI 48104-6386
                                                    Vanessa Velez
                                                    1192 Mitchell Ave
Toa Yang                                            Apt 118
137 White Spruce Dr                                 Tustin, CA 92780-5643
Coppell, TX 75019-7972

                                                    Verizon Wireless
Tommy Yu                                            500 Technology Drive, Suite 550
1776 S Norfolk St                                   Saint Charles, MO 63304
San Mateo, CA 94403-1153
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Vincent Tong                                          William Harrop
14221 Lutheria Way                                    3834 Red Hill Rd
Saratoga, CA 95070-5979                               Charlottesville, VA 22903-7917


Vivek Ravi                                            Women's Care Consultants
2121 Tannehill Dr                                     3023 N Ballas, Ste 120D
Apt 2031                                              Saint Louis, MO 63131
Houston, TX 77008-3136

                                                      Xiaotian Austin
Vyacheslav Kraplin                                    3505 Matthew Dr
147 Turner Rd                                         Bloomington, IL 61704-8654
Unit 108
Holliston, MA 017646-1280
                                                      Xiaoyang Olson
                                                      9331 16th Dr W
Walter C Geckeler                                     Everett, WA 98204-2147
3018 College Ave
Berkley, CA 94705-2506
                                                      Xiaoyi Yu
                                                      109 Mountain Violet
Wangdong Chen                                         Irvine, CA 92620-3103
5523 Playa Del Rey
San Jose, CA 95123-1330
                                                      Xuan Wang
                                                      5646 N. Willard Ave
Washington University Physicians                      Apt E
PO Box 505462                                         San Gabriel, CA 91776-1634
Saint Louis, MO 63150

                                                      Yi Xia
Wei Wang                                              607 N. Cayuga St
23 Puchala Dr                                         Apt 1R
Parlin, NJ 08859-3141                                 Ithaca, NY 14850-3675


Wei-Chen Cheng                                        Yihao Wong
5951 Gentle Call                                      3450 N. Ridgewood St
Clarksville, MD 21209-1233                            Apt 403
                                                      Wichita, KS 67220-4429

William Card
1543 Jeffries Way                                     Yoa Li
Midlothian, VA 23114-4324                             4008 Sloanwood Dr
                                                      Murrysville, PA 15668-1042

William Chen
135 E 54th St                                         Youngjae Byun
New York, NY 10022-4539                               432 Golden Meadows Circle
                                                      Sunwanee, GA 30024-2268

William Curley
6662 Blackwood St                                     Yu-Sheng Lo
Riverside, CA 92506-6247                              3500 Greystone Dr
                                                      Apt 251
                                                      Austin, TX 78731-2306
William Dewitt
230 Terra Vista St
Brighton, CO 80601-4170                               Yuqing Peterson
                                                      180 Sylvian Way
                                                      Los Altos, CA 94022-2254
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Zachary Finkelstein
425 Eashington Blvd.
Apt 2204
Jersey City, NJ 07310-2051


Zachary Koontz
325 Bent Creek Dr
Garland, TX 75040-1137


Zack Arnson-Serotta
8715 1st Ave
Apt 127C
Silver Spring, MD 20910-3529


Zhi Zheng
2000 Lakeshore Dr
New Orleans, LA 70122-3549


Zhiheng Xu
69 Dixon Dr
Tonawanda, NY 14223-1834


Zwicker & Associates, P.C.
80 Minuteman Rd
Andover, MA 01810
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                             United States Bankruptcy Court
                             Eastern District of Missouri




         Michael Christopher Dean & Meredith Leigh
In re:                                                         Case No.
         Miller Dean
                                                               Chapter    7
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              10/03/2019                        /s/ Michael Christopher Dean
Date:
                                                Signature of Debtor

                                                /s/ Meredith Leigh Miller Dean
                                                Signature of Joint Debtor
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 N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
 I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

      You are an individual filing for bankruptcy,
                                                                           $245     filing fee
        and                                                                 $75     administrative fee
                                                                 +          $15     trustee surcharge
      Your debts are primarily consumer debts.
                                                                           $335     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                     difficulty preventing them from paying their
        household purpose.”                                      debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
 a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
      Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
      Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
      Chapter 12 — Voluntary repayment plan
                    for family farmers or                        may deny your discharge.
                    fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
      Chapter 13 — Voluntary repayment plan
                    for individuals with regular                 debts are not discharged under the law.
                    income                                       Therefore, you may still be responsible to pay:
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167 filing fee
 If your income is above the median for your                     +          $550 administrative fee
 state, you must file a second form —the                                  $1,717 total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If


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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200 filing fee
                                                                 future earnings. If the court approves your
 +           $75 administrative fee
            $275 total fee
                                                                 plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or
 Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
 family farmers and fishermen to repay their                     factors.
 debts over a period of time using future
 earnings and to discharge some debts that are                   After you make all the payments under your
 not paid.                                                       plan, many of your debts are discharged. The
                                                                 debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
             individuals with regular                                most student loans,
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee
                                                                     debts for fraud or defalcation while acting
 +          $75    administrative fee
                                                                      in a fiduciary capacity,
           $310    total fee
                                                                     most criminal fines and restitution
 Chapter 13 is for individuals who have regular                       obligations,
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.
                                                                     certain debts for acts that caused death or
 You are eligible for chapter 13 only if your
                                                                      personal injury, and
 debts are not more than certain dollar amounts
                                                                     certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


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                                                                 A married couple may file a bankruptcy case
     Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                U nde rst a nd w hic h se rvic e s you
     their deadlines, go to:                                     c ould re c e ive from c re dit
     http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
     s.html#procedure.
                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Ba nk rupt c y c rim e s ha ve se rious
                                                                 If you are filing a joint case, both spouses must
 c onse que nc e s
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from:
                                                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
 M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
 m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

 The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

 mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

 for Individuals Filing for Bankruptcy (Official
                                                                 If you do not have access to a computer, the
 Form 101). To ensure that you receive
                                                                 clerk of the bankruptcy court may be able to
 information about your case, Bankruptcy
                                                                 help you obtain the list.
 Rule 4002 requires that you notify the court of
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
     B2030
       Case(Form 2030) (12/15)
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                                      United States Bankruptcy Court
                                                              Eastern District of Missouri
                                               __________________________________
     In re   Michael Christopher Dean & Meredith Leigh Miller Dean

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         3,800.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 3,800.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       10/03/2019                        /s/ Bryon Hale, 64883
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         Barklage, Brett & Hamill, PC
                                        _________________________________________
                                             ​Name of law firm
                                         211 N. Third Street
                                         St. Charles, MO 63301
                                         636-949-2120
                                         bhale@barklage-brett.com
